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                                                    EXHIBIT 1
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                             BUTLER VERSUS MALLINCKRODT
                    EXPERT REPORT OF MALCOLM R. KNAPP, Ph.D.
                                          March 17, 2020

 Executive Summary
 This report evaluates whether the facility located on Latty Avenue in Hazelwood, Missouri met
 Atomic Energy Commission (AEC) regulations for releases of radioactive materials during the
 period that the Cotter Corporation (N.S.L.) (hereinafter referred to as Cotter) held a Source
 Material License by the AEC to possess uranium at that location, and whether Cotter and the
 AEC considered that the Latty Avenue site was properly decommissioned at the time the AEC
 terminated its license.
 I am a private consultant who worked for 20 years for the Nuclear Regulatory Commission
 (NRC) (successor agency to the AEC), where my responsibilities included the regulation of
 radioactive materials and radioactive waste. I retired in 1999 as a Deputy Executive Director of
 that agency. My evaluation is based on my extensive experience with health and safety issues
 associated with the regulation of radioactive materials and my review of contemporaneous
 documentation related to the Latty Avenue site.
 Cotter was in compliance with AEC regulations as they applied to offsite releases of radiation
 and radioactive material while Cotter was the licensee at Latty Avenue, in particular the specific
 regulations, 10 CFR 20.105, “Permissible levels of radiation in unrestricted areas,” and 10 CFR
 20.106, “Radioactivity in effluents to unrestricted areas.”
 After reviewing the pertinent documents in the case, and based on my experience as a regulator
 and as a regulatory consultant, it also is my expert opinion that:
 •   Cotter was responsive to AEC’s findings and recommendations and met or exceeded AEC
     requirements or expectations.
 •   The AEC did not find the Latty Avenue facility’s releases to unrestricted areas to be in
     violation of 10 CFR 20.105 or 10 CFR 20.106 while Cotter was the licensee. Further, I
     found no evidence that offsite releases from Latty Avenue during this period were in
     violation of these requirements.
 •   Subsequent to termination of the Latty Avenue license, NRC did not find any evidence of
     radioactive materials from Cotter’s prior operations at Latty Avenue that posed a danger to
     the surrounding population.
 •   Cotter’s disposal of the leached barium sulfate to a sanitary landfill did not violate any AEC
     regulations.




                                                  1
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 Contrary to what is alleged in the Complaints1, during the entire period Cotter was licensed to
 possess radioactive materials at Latty Avenue, there were federal regulations promulgated by the
 AEC that governed the permissible or maximum amount of radiation to which a member of the
 general public could be exposed.
 I have reviewed the reports of Dr. James Wells2, 3. I have found that his analysis of thorium-230
 releases from the Latty Avenue site contains a number of errors, and that when these errors are
 corrected, the thorium-230 concentrations in effluents from Latty Avenue were significantly less
 than the Part 20 airborne effluent limits for thorium-230 while Cotter was a licensee.
 I found no evidence that Cotter ever violated AEC requirements with respect to either the
 amount of radiation to which a member of the general public could be exposed or releases of
 airborne or liquid radioactive material to the accessible environment.


 Introduction and Background
 This report evaluates whether Cotter met federal regulations for airborne and liquid releases of
 radioactive materials at its facility at Latty Avenue in Hazelwood, Missouri (hereinafter called
 Latty Avenue) during the period that Cotter was licensed by the AEC (from December 1969
 through November 1974), and whether Cotter and AEC concluded that the Latty Avenue site
 was safely and properly decommissioned at the time the AEC terminated its license.
 I retired from the Nuclear Regulatory Commission (NRC) in 1999 after twenty years of service. I
 retired as Deputy Executive Director for Regulatory Effectiveness, in which position I was
 responsible for all research, investigations, enforcement, and emergency response for the agency.
 Prior to that, I was Deputy Director of the Office of Nuclear Materials Safety and Safeguards
 (NMSS), the NRC headquarters organization responsible for the regulation of radioactive
 materials licensees (such as Cotter), nuclear fuel cycle facilities, radioactive waste, and security
 and safeguards. As Deputy Director of NMSS, I was a founding co-chair of the federal
 government’s Interagency Steering Committee on Radiation Standards (ISCORS). I also spent
 about a year as Acting Director of NRC’s Office of Research.
 In 1994 and 1995, I served as Director of the Waste Management Division, where my
 responsibilities included high- and low-level radioactive waste management, uranium recovery,
 and decommissioning. In this role, I managed and participated in the regulation of materials
 facility and reactor site decommissioning at several sites. My responsibilities included NRC’s

 1
   Paragraph 20 of the Complaints states, in part:
 “During the entire period between 1969 and 1973, no federal regulations governed the permissible or
 maximum amount of radiation to which a member of the general public could be exposed.”
 2
   Expert Report of James T. Wells, PhD, PG, L. Everett & Associates, LLC. In the matter of:
 McClurg, et al. v. Mallinckrodt, Inc., et al., March 31, 2019.
 3
   Supplemental Expert Report of James T. Wells, PhD, PG. L. Everett & Associates, LLC. In the matter
 of: McClurg, et al. v. Mallinckrodt, Inc., et al., August 1, 2019.


                                                   2
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 oversight activities in the West Valley Demonstration Project, in which the Department of
 Energy (DOE) remediated a nuclear fuel reprocessing facility.
 From 1989 through 1992, I was the Director of the Division of Radiation Safety and Safeguards
 in NRC’s Region I. There, I directly managed licensing, inspection, enforcement, and incident
 response for about 4,000 materials licensees, including hospitals, clinics, physicians,
 pharmaceutical manufacturers, large scale irradiators, radiographers, and gauge users. I also
 managed inspections for health physics and security for 32 commercial nuclear reactors. During
 that time, I conducted numerous enforcement conferences and personally managed responses to
 materials incidents. I often accompanied inspectors during facility inspections. I had regional
 responsibility for the NUMEC nuclear fuel fabrication facility in Apollo, Pennsylvania, which
 had a number of similarities to the Latty Avenue site.
 Much of my work in Region I involved NRC’s 10 CFR Part 20, Standards for Protection
 Against Radiation (Part 20). My staff inspected facilities for safety and for compliance with Part
 20 and wrote inspection reports documenting their findings. I directly managed NRC’s actions
 following inspections in which significant safety issues or items of non-compliance with Part 20
 were identified. NRC could use several regulatory tools for achieving compliance, including
 issuing Notices of Violation, conducting Enforcement Conferences (which I usually chaired for
 materials licensees), and issuing Orders and Civil Penalties. My understanding from my career at
 the NRC is that those same tools were in place before 1974 for the AEC and after 1974 for the
 NRC.
 From 1979 through 1989, I was involved in the development of a number of NRC’s regulations
 and guides. I was a principal author of the NRC’s generic high-level waste disposal regulation,
 10 CFR Part 60 (Part 60), and was responsible for developing and issuing 10 CFR Part 62, which
 concerns emergency access to low-level radioactive waste disposal facilities. My work on Part
 60 included managing the development of the technical rationale for the regulation’s main safety
 requirements and drafting and finalizing parts of the regulation. I was also a principal author of
 the NRC’s responses to public comments on Part 60, including developing and documenting
 NRC’s rationale for revising the regulation or keeping the original wording, as appropriate.
 Prior to joining NRC in 1979, I worked for the General Electric Company, principally at
 Corporate Research and Development, where I investigated gas turbine corrosion, heavy water
 separation and continuous casting of copper rod. I also worked as a process engineer at a chrome
 processing plant operated by the Allied Chemical Corporation (now Honeywell), where my
 responsibilities included designing and testing ventilation systems used to protect employees
 from airborne toxic chemicals.
 I hold B.E.S. and M.S.E. degrees from Johns Hopkins University and a Ph.D. from Carnegie-
 Mellon University. All my degrees are in Chemical Engineering. As part of my training at the
 NRC, I attended the NRC two-week Health Physics course and the Oak Ridge five-week Health
 Physics course.



                                                 3
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 I am currently a Senior Nuclear Safety Consultant to Talisman International, LLC. I have been
 an independent consultant in nuclear safety and management since my retirement from the NRC
 in 1999. My consulting clients have included the NRC, the Los Alamos National Laboratory, the
 United States Department of Justice, DOE and the International Atomic Energy Agency,
 including working for the latter two agencies as a full-time employee for several months each.
 From 2010 through mid-2013 I worked (as a Talisman consultant) for the Federal Authority for
 Nuclear Regulation (FANR) in the United Arab Emirates. That work included revising FANR’s
 radiation safety regulation, which is comparable to NRC’s Part 20, and writing a regulatory
 guide to help licensees comply with the regulation. I also revised FANR’s enforcement
 procedure, wrote its materials violation instruction and eight practice-specific inspection
 instructions, developed the materials inspector training program, and trained FANR’s materials
 inspectors.
 My curriculum vitae is attached as Attachment A.
 Talisman is paid a fee for my time at the rate of $440.00 per hour. During the past 4 years, I have
 been deposed once4 but have not testified in court in any litigation.
 This report is based upon my experience as a nuclear safety regulator and an extensive review
 and analysis of documents related to Cotter’s operation of the Latty Avenue facility and the
 AEC’s licensing and inspection oversight. During the period that Cotter held a license, Latty
 Avenue and other similar facilities in the United States where licensed materials were used were
 subject to regulation by the AEC5. As described in greater detail later in my report, the AEC’s
 regulatory program included safety requirements for licenses and requirements for license
 applications, licensee operations, and license terminations. It also included inspections by AEC
 inspectors. The application of this regulatory program generated a formal record of
 correspondence between the AEC and its licensees, such as Cotter.
 To determine whether Cotter met federal regulations for releases of radioactive materials from
 Latty Avenue, I sought available documents related to the AEC’s regulation of Latty Avenue.
 Staff under my direction at Talisman conducted research that identified relevant documents
 available from the NRC’s ADAMS database and the more archival document collection in the
 NRC’s Legacy database. I had access to documents related to Latty Avenue that were provided
 to me by counsel. I also obtained documents related to AEC’s requirements.
 The documents included Cotter’s application to the AEC for a license and later for its
 termination, and the AEC’s responses; AEC’s findings from its inspections of Latty Avenue and
 Cotter’s responses; other correspondence between Cotter and the AEC; the results of NRC



 4
   Virginia Uranium v. Commonwealth of Virginia, Case No. CL15-623 in the Circuit Court of Wise
 County, Commonwealth of Virginia, expert for the Plaintiffs, deposed on July 7, 2017.
 5
   The NRC began operations on January 19, 1975, U.S. NRC History, https://www.nrc.gov/about-
 nrc/history.html, accessed November 16, 2019.


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 investigations prior to 1978 regarding the decommissioning of the Latty Avenue site; and
 internal Cotter, AEC, and NRC memoranda.
 I reviewed these documents to evaluate whether they provided evidence that would indicate
 whether Cotter violated federal off-site emissions standards at Latty Avenue at any time during
 the period of my review and, importantly, to identify conclusions that were reached by the AEC
 about Cotter’s compliance with the emissions standards during that time. The AEC documents
 were particularly salient because it was the regulator who determined whether the licensee is in
 compliance with regulatory requirements. A list of documents I considered is provided in
 Attachment B to this report. The opinions and conclusions I have formed from my review are set
 forth below.


 Regulatory Standards
 Congress gave the AEC responsibility for radiological protection. The regulations promulgated
 by the AEC were consistent with the best national and international thinking at the time.
 10 C.F.R. 20.105 and 20.106 set forth the amount of radiation that may be released to the
 accessible environment and the permissible concentration of radionuclides in the effluents
 released to the accessible environment. The regulatory standards are not the concentration of
 radionuclides in the accessible environment, nor are they background levels of radiation, and
 they are not “As Low as Reasonably Achievable” (ALARA); that is, they do not require that
 exposures to ionizing radiation be kept as far below the dose limits as practical. The AEC did not
 use ALARA as a regulatory limit, but rather as encouragement to licensees to control and reduce
 exposures where they reasonably could. By contrast, the release limits set forth in 10 CFR Part
 20 Appendix B for each isotope are formal regulatory limits.
 At the time Cotter was the licensee at Latty Avenue, Part 20 was consistent with
 recommendations issued by the National Committee on Radiation Protection6 (NCRP), which
 were based on considerable scientific study and represented the best scientific thinking at the
 time.
 NCRP’s recommendations, which were published in National Bureau of Standards (NBS)
 Handbook 52,7 included levels of maximum permissible exposure to serve as guides to safe
 operation of a facility.8 Handbook 52 gives the Maximum Permissible Concentrations (MPCs) of
 certain radionuclides in the air and water that one may take regularly into the body,
 conservatively derived on the basis of continuous exposures for a lifetime.9 As NCRP said in

 6
   In 1964, the NCRP was reorganized and chartered as the National Council on Radiation Protection and
 Measurements.
 7
   “Maximum Permissible Amounts of Radioisotopes in the Human Body and Maximum Permissible
 Concentrations in Air and Water,” NBS Handbook 52, March 20, 1953.
 8
   Ibid., page 1.
 9
   Ibid.


                                                   5
                                                                                          COTTERKNAPP00000005
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 NBS Handbook 59, permissible dose was a dose for which the probability of injuries was so low
 that competent medical authorities would not find it deleterious to health.10 AEC established
 comparable limits for radionuclide concentrations in airborne effluents to unrestricted areas in
 Part 20. The AEC limits for public exposure to uranium—such as handled by Cotter at Latty
 Avenue under its AEC license—included a safety factor of ten, as recommended by NCRP. AEC
 discussed the safety of its standards in its Statement of Considerations that accompanied the
 publication of Part 20 in 1957. It said:
        It is believed that the standards incorporated in these regulations provide, in
        accordance with present knowledge, a very substantial margin of safety for
        exposed individuals.11
 In 1959, NCRP revised its recommendations and published them in NBS Handbook 69. NCRP
 recommended that radiation or radioactive material outside a controlled area should be controlled
 so that it would be improbable for an individual to receive a dose of more than 0.5 rem annually
 (500 millirem (“mrem”))12, and provided a table of corresponding MPCs.
 The AEC responded to NCRP’s changes by amending Part 20 effective January 1, 196113 to
 provide MPCs for additional isotopes and to revise some of the MPCs already in place. The AEC
 said:14
        These levels are believed to be sufficiently low to provide reasonable assurance that
        individuals in unrestricted areas will not receive a dose to the whole body in any
        period of one year in excess of 0.5 rem [500 mrem].
 The sections of Part 20 that address the limit of 0.5 rem and the MPCs were 20.105 and 20.106,
 respectively. From 196815 through 1981,16 these sections read, in part:
        § 20.105 Permissible levels of radiation in unrestricted areas.
        (a) There may be included in any application for a license or for amendment
        of a license proposed limits upon levels of radiation in unrestricted areas . . .
        The commission will approve the proposed limits if the applicant
        demonstrates that the proposed limits are not likely to cause any individual to
        receive a dose to the whole body in any period of one calendar year in excess
        of 0.5 rem.

 10
    “Permissible Dose from External Sources of Ionizing Radiation,” NBS Handbook 59, September 24,
 1954, page 27.
 11
    10 CFR Part 20, Standards for Protection Against Radiation, 22 FR 548, January 29, 1957, at 549.
 12
    “Maximum Permissible Body Burdens and Maximum Permissible Concentrations of Radionuclides in
 Air and in Water for Occupational Exposure,” NBS Handbook 69, June 5, 1959, page 6.
 13
    10 CFR Part 20, Standards for Protection Against Radiation [Revised], AEC, January 1, 1961.
 14
    10 CFR Part 20, Standards for Protection Against Radiation, Miscellaneous Amendments, 25 FR 8595,
 September 7, 1960, at 8596.
 15
    10 CFR Part 20, §§20.105(b) and 20.106(a), 1968.
 16
    10 CFR Part 20, §§20.105(b) and 20.106(a), 1981.


                                                  6
                                                                                            COTTERKNAPP00000006
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           (b) . . . no licensee shall possess, use or transfer licensed material in such a
           manner as to create in any unrestricted area from radioactive material and
           other sources of radiation in his possession:
           (1) Radiation levels which, if an individual were continuously present in the
           area, could result in his receiving a dose in excess of two millirems in any one
           hour, or
           (2) Radiation levels which, if an individual were continuously present in the
           area, could result in his receiving a dose in excess of 100 millirems in any
           seven consecutive days.
 and
           § 20.106 Radioactivity in effluents to unrestricted areas.
           (a) A licensee shall not possess, use, or transfer licensed material so as to
           release to an unrestricted area radioactive material in concentrations which
           exceed the limits specified in Appendix “B”, Table II of this part, . . . For
           purposes of this section concentrations may be averaged over a period not
           greater than one year.
           ...
           (d) For the purposes of this section the concentration limits in Appendix “B”,
           Table II of this part shall apply at the boundary of the restricted area. The
           concentration of radioactive material discharged through a stack, pipe or
           similar conduit may be determined with respect to the point where the
           material leaves the conduit. If the conduit discharges within the restricted
           area, the concentration at the boundary may be determined by applying
           appropriate factors for dilution, dispersion, or decay between the point of
           discharge and the boundary.
 The definition of ‘unrestricted area’ in Part 20 from 196817 through 198118 was:
           any area access to which is not controlled by the licensee for purposes of
           protection of individuals from exposure to radiation and radioactive materials,
           and any area used for residential quarters.
 From the above, two points about the determination of a licensee’s effluent concentration are
 clear. First, the determination may be made at the boundary of the restricted area. Second, if the
 discharge occurs within the restricted area, the licensee may determine the concentration at the
 boundary by taking into account appropriate factors for dilution, dispersion, or decay between
 the point of discharge and the boundary.

 17
      10 CFR Part 20 §20.3 (a)(17), 1968.
 18
      10 CFR Part 20 §20.3 (a)(17), 1981.


                                                     7
                                                                                              COTTERKNAPP00000007
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 The MPCs given in Appendix B, Table II for uranium and thorium isotopes of interest remained
 unchanged from 1961 through 199119. NCRP and AEC values for the isotopes of interest to this
 report are shown in Table 1.
      Table 1 – Maximum Permissible Concentrations (MPC) of Thorium and Uranium in Air and
                                             Water
                     From NBS Handbook 69 and 10 CFR Part 20 (1961-1974)

                                          Maximum Permissible Concentrations
                        Microcuries per Milliliter of Air       Microcuries per Milliliter of Water
                                                AEC                                       AEC
                                            concentration                             concentration
                         Maximum                                  Maximum
                                              limits in                                 limits in
      Radionuclide      Permissible                              Permissible
                                             unrestricted                              unrestricted
                       Concentrations                           Concentrations
                                           areas, 10 CFR                             areas, 10 CFR
                       for continuous                           for continuous
                                           Part 20 (1961),                           Part 20 (1961),
                       exposure, NBS                            exposure, NBS
                                            Appendix B,                               Appendix B,
                       Handbook 6920                            Handbook 6921
                                              Table II,                             Table II, Column
                                           Column 1, Air                                2, Water
  Uranium-234,
                         2.0 X 10-10          2.0 X 10-11          3.0 X 10-4           3.0 X 10-5
  Soluble
  Uranium-234,
                         4.0 X 10-11          4.0 X 10-12          3.0 X 10-4           3.0 X 10-5
  Insoluble
  Uranium-235,
                         2.0 X 10-10          2.0 X 10-11          3.0 X 10-4           3.0 X 10-5
  Soluble
  Uranium-235,
                         4.0 X 10-11          4.0 X 10-12          3.0 X 10-4           3.0 X 10-5
  Insoluble
  Uranium-238,
                         3.0 X 10-11          3.0 X 10-12          4.0 X 10-4           4.0 X 10-5
  Soluble
  Uranium-238,
                         5.0 X 10-11          5.0 X 10-12          4.0 X 10-4           4.0 X 10-5
  Insoluble
  Thorium-230,
                         8.0 X 10-13          8.0 X 10-14          2.0 X 10-5           2.0 X 10-6
  Soluble
  Thorium-230,
                         3.0 X 10-12          3.0 X 10-13          3.0 X 10-4           3.0 X 10-5
  Insoluble


 19
    In 1991, the NRC made significant changes to Part 20. See 10 CFR Part 20, Standards for Protection
 Against Radiation, Final Rule, 56 FR 23360, May 21, 1991.
 20
    “Maximum Permissible Body Burdens and Maximum Permissible Concentrations of Radionuclides in
 Air and in Water for Occupational Exposure,” NBS Handbook 69, op. cit., pages 81-83 and 85-86.
 21
    Ibid.


                                                   8
                                                                                          COTTERKNAPP00000008
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Note that Table 1 shows that the AEC concentration limits in unrestricted areas were a factor of
ten lower than the NCRP continuous exposure limits, as recommended by NCRP. Based upon
the consistency between NCRP and AEC concentration limits in 1961, it is evident that AEC’s
regulations concerning airborne and liquid emission limits were consistent with the national and
international standards of the day.
It is also evident that Part 20 included the principle that some radionuclide emissions could be
released into unrestricted areas outside the plant boundary with a substantial margin of safety to
exposed individuals.
In summary, AEC’s MPCs in Part 20 for radioactivity in airborne releases were clearly
consistent with the standards of the day and provided a very substantial margin of safety for
exposed individuals. These MPC values applied to Latty Avenue through the time that Cotter
was an active licensee.


Decommissioning Guidance
Cotter applied for termination of its license on May 10, 197422. At that time, AEC had issued
guidelines for decontamination of equipment and facilities23. These guidelines set criteria for
three types of radioactive material that might be on surfaces, premises, or equipment. Very
simply stated, the first type is very much like uranium, thorium and their daughters; the second
type is principally other isotopes that are alpha emitters; and the third is other isotopes that are
beta-gamma emitters.24 The guidelines provide different limits for each type of material. These
limits are shown in Table I or II of the guidelines. A simplified version of Tables I and II reads:




22
   Letter from Edward J. McGrath on behalf of Cotter to W. Burkhardt, May 10, 1974.
COTTER00000892-96
23
   Guidelines for Decontamination of Facilities and Equipment Prior to Release for Unrestricted Use or
Termination of Licenses for Byproduct, Source, or Special Nuclear Material, AEC, December 1973.
COTTER00009851-55
24
   Alpha radiation consists of particles that travel only a few centimeters in air and are unable to penetrate
the outer layer of dead skin cells. However, if an alpha emitting isotope is ingested in the body, it can
cause cell damage in the immediate vicinity of where the alpha decay occurs. Beta radiation is able to
travel up to a few meters in air and a few centimeters in the body, so it can provide an external health risk.
Gamma radiation can travel long distances and provides an external health risk.


                                                      9
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                   Table 2 – Simplified Version of AEC Decommissioning Guidelines

                                 SURFACE CONTAMINATION LEVELS
                ISOTOPES                             TABLE I                           TABLE II
                                            TOTAL REMOVABLE                  TOTALC          REMOVABLE
 1. U-natural, U-235, U-238, Th- 10,000A          1,000 A         5,000 A Avg        1,000 A
    natural, Th-232 and
    associated decay products                                    25,000 A Max
 2. Other isotopes which decay       1,000 A       100 A           500 A Avg          100 A
    by alpha emission or by
    spontaneous fission                                           2,500 A Max
 3. Beta-gamma emitters               0.4B        1,000 A             0.2 B          1,000 A
    (isotopes with decay modes
    other than alpha emission or                                      1.0 B
    spontaneous fission)
A – Disintegrations per minute (dpm) per 100 cm2
B – mrad25 per hour
C – The measurement is not to be averaged over an area larger than 10 square meters.


The guidelines allow licensees to use either Table I or Table II. A licensee would use Table I if
the remaining radioactivity was below the limits of that table. Should a licensee have some spots
where the radioactivity exceeds the limits in Table I, it could use the limits in Table II.
While the above guidance was not formalized in AEC regulation, it did provide the agency’s
guidance to support, among other things, license termination, so it was reasonable for licensees
to use it.


Cotter’s Performance as a Licensee
This section discusses Cotter’s performance as an AEC licensee in four subsections: Cotter’s
response to AEC regulation, Cotter’s application for and receipt of a license, Cotter’s
performance as a licensee, and Cotter’s application for and receipt of license termination. Each
of the last three sections begins with a description of how AEC regulated that activity.




25
     A rad is a unit for measuring absorbed energy from radiation. A millirad (or mrad) is 1/1000 of a rad.


                                                      10
                                                                                                COTTERKNAPP00000010
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Cotter’s Response to Regulation
During the period covered by my review, I found that Cotter took a proactive approach to AEC
regulation. Cotter was responsive to AEC’s findings and recommendations and met or exceeded
AEC requirements. Some examples are:
Cotter’s consultant, Ryckman, Edgerly, Tomlinson, and Associates (RETA)26, remarked in an
August 18, 1970 memorandum, immediately after Cotter initiated operations at Latty Avenue:

        It should be noted that many of the safety precautions have been introduced. Use
        of “captive clothing” including boots and uniforms has begun as well as on-site
        shower facilities. Cotter Corporation’s support of widespread use of respirators is
        especially commendable.27
Within a week, Cotter also issued film badges to all of its on-site workers.28
Cotter had a health and safety program in place at its Cañon City facility as early as 1961.29 The
first page of that document contains the following sentences:
        The Atomic Energy Commission has published “Title 10, Part 20” as a standard for
        protection against radiation. The rules and regulations in this Part 20 are to be
        followed to the letter. (emphasis added)
This program documented four main safety considerations: airborne radioactive dust both within
and outside the plant’s restricted areas; external radiation monitoring in work areas; monitoring
of effluents leaving restricted areas; and medical supervision of employees. It discussed
particular hazards such as dust associated with crushing and processing ore, and capping barrels
of yellowcake30. It also described sampling equipment, locations, frequencies and procedures.
This program was, of course, more extensive and detailed than the one at Latty Avenue. This
was because Cotter’s operations at Cañon City included more complex and hazardous operations
such as leaching ore and producing yellowcake, whereas at Latty Avenue Cotter simply dried
wet residues. Cotter was able to draw on its Cañon City experience to decide what the
appropriate features of the Latty Avenue safety program should be, and the AEC found them to
be acceptable in its review of Cotter’s license application.


26
   As stated in Cotter’s license application, its radiation safety program was to be under the direction of
[Ed] Edgerley, who had a radiological health minor as part of a doctoral program at the University of
California, who taught courses in engineering aspects of radiological health and who had 12 years’
experience as an Environmental Engineer involving various phases of engineering related to radiological
safety.
27
   RETA memorandum from PKF to HDT, EE, and DLB, August 18, 1970. COTTER00001480-82
28
   Bi-Monthly Monitoring Report for Cotter Corporation, September 30, 1970. COTTER00001473
29
   The Health Physics Program at Cotter Corporation, Cañon City, CO, November 7, 1961.
COTTER00014886
30
   Yellowcake is a mixture of uranium oxides that are produced from uranium ore in the uranium recovery
process.


                                                    11
                                                                                             COTTERKNAPP00000011
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When the AEC did note a deficiency in Cotter’s activities, Cotter quickly acted to address it. For
example, following a November 17, 1970 inspection, the AEC wrote Cotter,31 saying that:
        Contrary to 10 CFR 20.201(b), “Surveys,” air sample surveys were inadequate to
        determine concentrations of airborne uranium ore materials to which persons were
        exposed during drying and loading operations at the Hazelwood, Missouri facility.
Cotter responded on January 7, 1971,32 saying:
        This letter is in reply to your correspondence of December 4, 1970 . . . we are at the
        present time initiating a monitoring program which shall comply in all aspects to
        AEC regulations 10 CFR 20.201(b). (emphasis added).
        ...
        It is the full intention of this firm to obtain and analyze all the necessary samples
        and have them submitted to you in report form on or before January 15, 1971.
The AEC responded to Cotter on January 15, 1971,33 thanking Cotter for its response and saying
that AEC would review the matter at its next inspection. This response documents that Cotter’s
January 7 letter had met AEC expectations because otherwise, AEC would have taken additional
actions. Note also that any violation of 10 CFR 20.201(b) relates to the lack of adequate air
sample surveys on the facility site, and not whether members of the general public were being
exposed to levels of radiation exceeding the limits of 10 CFR 20.105 or whether levels of
radioactive materials exceeding the limits of 10 CFR 20.106 left the site boundaries.
In 1971 and 1972, Cotter repeatedly sought a way to dispose of the wastes remaining at Latty
Avenue that would comply with AEC regulations. For example:
•    In April 1971, Cotter applied to the AEC for permission to dispose of the wastes at a property
     owned and controlled by the AEC in Weldon Springs, Missouri,34 which AEC had indicated
     was a disposal option in its 1960 invitation to bid to Cotter35.
•    On June 24, 1971, Cotter met with AEC to discuss the possibility of burying the wastes on-
     site at Latty Avenue36, and learned that obtaining authorization for such disposal “would not
     be an easy matter” and “could only be allowed after provision has been made for assuring
     perpetual maintenance of the site.”



31
   Letter from Boyce H. Grier to Donald [sic] P. Marcott, December 4, 1970. COTTER00005098
32
   Letter from David P. Marcott to Boyce H. Grier, January 7, 1971. COTTER00001453
33
   Letter from Boyce H. Grier to Donald [sic] P. Marcott, January 15, 1971. COTTER00005095
34
   Letter from Edward J. McGrath to Robert Hollingsworth, April 28, 1971. COTTER00001796
35
   AEC “Request for Proposals for the Purchase and Removal of Uranium Contaminated Residues” to
David P. Marcott, June 10, 1960. COTTER00002568-69
36
   AEC memo from J. C. Malaro to files, July 9, 1971. NRC Accession Number ML16021A452 pages
169-70.


                                                 12
                                                                                        COTTERKNAPP00000012
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•    On December 16, 1971, Cotter’s representative met with Nuclear Fuel Services to discuss the
     possibilities of disposing of the material at the West Valley, New York facility37.
•    On December 6, 1972, Cotter submitted a decommissioning proposal38 to the AEC to dispose
     of the wastes at the Weldon Springs Quarry Dump Site maintained by the AEC in St. Charles
     County, Missouri. The AEC responded on January 29, 197339. Its response reads in part:
        Your proposal for depositing material from decontamination of the Latty Avenue,
        Hazelwood, Missouri, Site in the Quarry Dump site is not acceptable to the Atomic
        Energy Commission. This would be in direct competition with established
        commercial burial grounds . . .


The above documents demonstrate Cotter’s intent and its substantive efforts to find a way to
dispose of the remaining wastes in accordance with AEC regulatory requirements. As is
discussed in more detail below, Cotter ultimately disposed of the wastes by mixing them with
soil to below licensable concentrations and transporting them to a landfill. The NRC’s Assistant
General Counsel later determined that Cotter’s method of disposal of the leached barium sulfate
was not prohibited by the regulations. No fine or citation was ever issued for this disposal.

Finally, in a separate regulatory event, on October 19, 1970, Cotter received a letter from the St.
Louis County Health Department Division of Air Pollution Control raising concerns about
visible emissions from the drying facility at Latty Avenue and asking Cotter to submit plans
within five days for controlling air pollution emissions from the plant40. On October 22, 1970,
three days after Cotter’s receipt of the letter, a RETA employee visited the site to observe
operating procedures and make recommendations for improving emissions. He reported that
steps had already been initiated to reduce atmospheric particulate emission41. He concluded his
report by saying:

     My over-all opinion of the operation is that the pollution abatement equipment is
     working very satisfactorily and that Mr. Brokaw and his men are cooperating in every
     possible way to reduce the excessive emission42.




37
   Letter from R. T. Smokowski to Edward. J. McGrath, December 21, 1971. COTTER00000832 Cotter
also explored disposal options with Nuclear Engineering Company in May 1971. COTTER00001397
38
   Letter from David P. Marcott to Frank Pittman, December 6, 1972. COTTER00000842
39
   Letter from R. J. Hart to David P. Marcott, January 24, 1973. COTTER00001786-87
40
   The actual letter from the Health Department has not been located. The letter was described in RETA’s
Bimonthly Monitoring Report II, November 30, 1970. COTTER00001459
41
   RETA memorandum from PKF to EE and HDT, October 22, 1970. COTTER00004801-02
42
   Ibid. COTTER00004802.


                                                   13
                                                                                           COTTERKNAPP00000013
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In summary, the above documents show that it was clearly Cotter’s policy to comply with AEC
regulations, and that when Cotter was faced with regulatory concerns it did its best to meet or
exceed the regulator’s expectations.


License Application
AEC reviewed license applications to determine whether the agency could have reasonable
assurance of the radiological safety of the proposed operation. Therefore, an application needed
to contain enough information for AEC to independently confirm this radiological safety. AEC’s
review usually would result in the agency sending requests for additional information (RAIs) to
the applicant. In response to RAIs, the applicant would provide additional information and often
revise the application. Often more than one round of RAIs would occur. For example, when the
Contemporary Metals Corporation applied for a license for the Latty Avenue site in 1962, the
AEC’s review resulted in two rounds of RAIs.43,44 When all of the RAIs were addressed to
AEC’s satisfaction, the license would be issued. A license generally would be issued with license
conditions, which would include commitments made in the license application.
When Cotter submitted its license application45 to the AEC on December 16, 196946, the
materials at the Latty Avenue site already were under license to the Commercial Discount
Corporation of Chicago (CDC)47,48 and had been licensed to Continental Mining & Milling
(CMM) before that. Cotter applied for a license to possess 500,000 pounds of U3O8, and stated in
its application that it would not “process” this material at Latty Avenue. Instead, Cotter said it
would condition the material by drying it to 15% moisture and would ship it to Cañon City,
Colorado. Cotter’s application stipulated that its workers would be issued film badges, that the
area would be monitored on a bi-weekly basis using a radiation detector, that air samples would
be taken on a bi-weekly basis, that continuous air sampling would be performed in the areas of
greatest mechanical and physical activity, and that six dust collectors49 would be placed around
the storage and loading facility to monitor dust in the environment. Because Cotter did not
conduct chemical processing, the application was simpler than most source material license
applications. The AEC reviewed Cotter’s application without additional documented
correspondence and granted Cotter License number “SUB-1022” two weeks later on December

43
   Letter from Donald A. Nussbaumer, AEC, to Clemons M. Roark, Contemporary Metals Corporation,
May 25, 1962. COTTER00009512-13
44
   Letter from Donald A. Nussbaumer, AEC, to Clemons M. Roark, Contemporary Metals Corporation,
June 22, 1962. COTTER00009523-24
45
   Cotter License Application. COTTER00000888-91
46
   Letter from David P. Marcott to AEC, December 16, 1969. COTTER00000805
47
   License No. SMC-907, December 29, 1966. COTTER00004755-56
48
   Amendment to SMC-907, June 23, 1967. COTTER00004779-4780
49
   “Six dust collectors consisting of a 360o sticky paper sampler and a dust fall bucket will be placed in the
area surrounding the storage and loading facility to continuously monitor the dust in the environment.
These will be changed on a bi-weekly basis.” Cotter License Application, op cit.


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                                                                                                COTTERKNAPP00000014
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30, 1969 without issuing any RAIs.50 Of course, AEC was familiar with the Latty Avenue site
and the materials stored there, having issued licenses to two prior licensees, and AEC was also
familiar with Cotter, as Cotter was an existing licensee51,52.


Performance While a Licensee
AEC’s regulation of operating licensees consisted principally of inspection, communications,
and direction associated with the inspections. In unusual circumstances, these communications
and direction might involve issuing orders or imposing civil penalties (fines). Apart from
inspections, AEC’s activities included notifying licensees about safety issues and responding to
licensee correspondence, which usually involved license amendments or decommissioning.
AEC’s inspection program addressed radiological safety and compliance with regulations.
Health and safety inspections addressed all areas of radiological safety, including AEC’s
regulations and any license conditions. Routine inspections occurred periodically, with the
frequency generally depending on the complexity and potential safety issues associated with the
license. For a licensee like Cotter, inspections would generally have occurred about once every
two years. Inspections also were conducted to observe or confirm decommissioning activities.
Inspections might also occur after safety-related events, to investigate allegations, and to check
on a licensee’s responses to an earlier inspection.
Inspections might be announced or unannounced. Before the inspection, inspectors would review
the AEC’s file on the license, which would include the license and any license conditions, recent
correspondence between AEC and the licensee, and the results of previous inspections.
Inspectors were expected to note violations found during prior inspections and confirm that
licensees had taken appropriate corrective action.
The inspections themselves generally included three activities, which are consistent with NRC’s
inspection practices today. They included observation of facilities and work practices, interviews
with managers and workers, and reviews of records. Inspections were conducted to learn whether
radioactive materials were properly controlled, whether areas containing radiation or radioactive
materials were properly restricted, and whether radiological monitoring equipment was
operational. Inspectors would observe work practices to learn whether employees were taking

50
   Letter from Don F. Harmon to David P. Marcott, December 30, 1969. COTTER00000815-16
51
   On November 18, 1969, Cotter wrote AEC asking if another license would be needed for Hazelwood,
since it already held license R-197 for its Cañon City facility. (NRC Accession Number 9609050157)
52
   Because thorium is present in natural uranium, it was not uncommon for the AEC to omit specific
references to thorium (and other decay products of uranium) in its source material licenses for uranium.
For example, the following source material licensees did not explicitly include thorium in their
applications: Pathfinder Lucky Mc, Umetco, and Western Nuclear. Likewise, although thorium was
discussed in the correspondence between AEC and Union Carbide concerning the Uravan facility license
renewal application, neither the Union Carbide license renewal application nor the AEC license that was
issued explicitly mentioned thorium.


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                                                                                           COTTERKNAPP00000015
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proper precautions when handling radioactive materials, whether they were using personal
monitoring equipment properly, and whether they followed appropriate procedures when leaving
areas containing radioactive materials. Inspectors reviewed records to learn whether required
monitoring was being conducted and recorded, and whether the records indicated any
overexposures or effluent releases in excess of regulatory requirements. They also would have
reviewed the licensee’s records of any events that involved permitted releases, unintended
releases, equipment malfunctions, or other similar events. They would have reviewed training
records to learn whether employee training was being conducted in accordance with the
licensee’s commitments. They would have interviewed workers and managers to learn whether
they understood and practiced the radiological safety training they had received and whether they
had any radiation safety concerns the AEC should have been aware of.
Inspectors documented their inspection results in a report that was reviewed by management and
sent to the licensee, who would be directed to address any concerns identified during the
inspection. Depending on the issue, licensees might be required to respond in writing by a
specific date that they had addressed the concern. AEC typically followed up to ensure that
corrections were made, usually at the next inspection. If the concerns were significant, AEC
might conduct a follow up inspection or shorten the interval before the next inspection. Where
appropriate, AEC would also issue civil penalties (fines) for violations.
AEC visited Latty Avenue once and formally inspected it twice while Cotter was the licensee.
The visit occurred in April 1970.53 The inspections occurred on November 17, 197054 and on
April 10 and 24, 1974.55


AEC Visit April 1970
The AEC’s April 1970 visit was consistent with its practice of visiting some of its licensees
shortly after granting a license to confirm the licensee’s statements in its application. AEC
reported that at the time of the April 1970 visit, the facility was at a standstill with only security
guards present.


AEC Inspection November 17, 1970
AEC conducted a routine inspection at Latty Avenue on November 17, 1970. AEC’s report of
the inspection56 included a discussion of the history of Latty Avenue and a description of
Cotter’s operations. AEC reported that Cotter began drying material on August 13, 1970, and
that the drying operation usually yielded about 350 to 450 dry tons of material during a normal


53
   Documented in AEC report of November 17, 1970 inspection. COTTER00001688
54
   AEC report of November 17, 1970 inspection. COTTER00001685-95
55
   AEC report of April 10 and 24, 1974 inspection. COTTER00001675-82
56
   AEC report of November 17, 1970 inspection, op. cit.


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                                                                                          COTTERKNAPP00000016
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workday. AEC also said that according to Cotter’s records, materials had been shipped on
approximately 50 days since August 13th, with an average quantity shipped of 400 tons per
day.57
AEC reported that Cotter had arranged for the B&K Construction Company to handle the
materials and control the site, and had contracted with the consulting firm of Ryckman, Edgerly,
Tomlinson, and Associates (RETA) to handle health physics58 activities.59
The report described the facilities and equipment and said that Cotter was using the same
facilities and equipment that the AEC had noted during prior inspections of the facility. The
report also described procedures and said that the newly dried material seemed to be somewhat
like sand or cinders in size.60
The report said that there were nine employees, that all had been assigned film badges, and that
between the end of August and the end of October, the largest dose any employee had received
was 110 millirem, with the remaining doses ranging from “minimal to 80 millirem for that
period.” Eventually RETA reported that the highest dose received for any employee over the
period of dryer operation (August 1970 – February 1971) was 230 mrem61, less than the Part 20
public exposure limit of 500 mrem per year and significantly less than the Part 20 exposure limit
for workers in restricted areas of 5 rem (5,000 mrem) per year62. AEC also reported that the
health physics surveys performed by RETA included stream samples, radiation level surveys at
the fence line, and air sampling of work areas.63
The report also documented RETA’s analysis of water samples taken downstream from Latty
Avenue. It said that the highest sample result showed approximately 4.5 X 10-6
microcuries/milliliter, which was about one fifth of the AEC’s limit for natural insoluble uranium
in water64. The report also reported radiation levels outside the fenced-in area at Latty Avenue. It
said that they were less than 0.6 millirem per hour (mR/hr)65 at 18 inches from the fence, which




57
   Ibid. COTTER00001689
58
   Health physics . . . deals with the protection of the individual and population groups against the harmful
effects of ionizing and nonionizing radiation. (From Introduction to Health Physics, Herman Cember,
1996).
59
   Ibid.
60
   Ibid. COTTER00001691
61
   RETA Proposal for Decontamination of Latty Avenue Storage Site, May 1972. COTTER00000858
62
   10 CFR 20.101(a) limited individuals in restricted areas to 1¼ rem per quarter, which is 5 rem per year,
10 CFR Part 20, 1970.
63
   AEC report of November 17, 1970 inspection, op. cit. COTTER00001692
64
   The maximum permissible concentration (MPC) for natural insoluble uranium in water was 2 X 10-5
microcuries/ml or greater, depending on the isotope (10 CFR Part 20, Appendix B, Table II, 1970).
65
   The unit mR/hr means milliRoentgen per hour. A Roentgen is a unit of exposure to radiation. For
comparison purposes, the average American is exposed to about 300 mR per year from background
radiation and about another 300 mR per year from medical procedures.


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means they were below the AEC radiation limit66. It also said that the radiation measurements
were confirmed by the AEC inspector.
As noted above, the AEC inspection report cited Cotter for apparent noncompliance with 10
CFR 20.201(b), “Surveys,” because the AEC found that air sample surveys were inadequate to
determine concentrations of airborne radioactivity in the working areas (on-site) during drying
and loading operations.
There are two items of note in the inspection report. First, the inspector documented three of
RETA’s airborne sampling results, which included a high of 19.70 milligrams per cubic yard67 in
the loading area, measured on September 28, 1970. This concentration is equivalent to about
1.37 X 10-10 microcuries per ml, based on the 1183 counts per minute per gram reported in
AEC’s November 17 inspection report and assuming a 10% counting efficiency.68 This value is
very similar to one reported in a RETA letter to Cotter in 197369, which said:
        High volume air samples taken inside the dryer building under the most severe dust
        conditions showed an average level of 18 X 10-11 uc/ml [equal to 1.8 X 10-10
        microCi/ml].
The above values are from the loading area and inside the dryer building. However, as I discuss
above, the AEC emissions limits apply at the boundary of the restricted area, take into account
dilution and dispersion between the point of discharge of the material and the boundary, and are
averaged over a year. Cotter only operated the dryer for about 8 hours a day for a total of about
50 days. Taking into account dilution and dispersion, and averaging over a year, it is very
unlikely that Cotter would have exceeded AEC’s emission limits at any point on the boundary70.

66
   The 0.6 mR/hr limit is derived from 20.105(b)(2), which says that radiation levels in unrestricted areas
may not result in an individual receiving a dose in excess of 100 millirems in any seven consecutive days.
Dividing 100 millirem by 168 hours in a week yields about 0.6 mR/hr.
67
   Ibid. COTTER00001694
68
   Ibid. COTTER00001693-94
69
   Letter from P. K. Feeney to David P. Marcott, February 15, 1973. COTTER00001727-29
70
   20.106(a) permits averaging over a year, so the concentration of 1.8 X 10-10 microCi/ml would be
averaged by multiplying by 50 days X 8 hours/day and dividing by 365 days/year X 24 hours/day or
                                  1.8 X 10-10 X50X8/(365X24) = 8.2 X 10-12
This concentration would be carried across the site by the wind. Before it reached the boundary of the
restricted area, this concentration would be reduced by dilution and dispersion, probably by at least a
factor of two, so
                                    8.2 X 10-12/2 = 4.1 X 10-12 microCi/ml
This concentration is then corrected for variation in wind direction, which over the course of a year will
blow in many directions, so that any point on the boundary will be in the direct path for only a short time.
The annual average concentration at any one point on the boundary should be reduced accordingly. The
compass wind rose for St. Louis for the year 1970 (located at https://wrcc.dri.edu/cgi-
bin/wea_windrose.pl?laKSTLhttps://wrcc.dri.edu/cgi-bin/wea_windrose.pl?laKSTL, select January 1 –
December 31, 1970) shows that the wind direction was not in any quarter as much as 30% of the time
over that year, so the concentration is reduced by a factor of 3, or
                                    4.1 X 10-12 /3 = 1.4 X 10-12 microCi/ml


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                                                                                              COTTERKNAPP00000018
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The second item of note in the inspection report is that the AEC’s citation raised concerns about
concentrations to which persons were exposed during drying and loading operations. It did not
raise concerns about releases of airborne materials offsite. This is notable because the inspector
would have documented any concerns about the possibility that Cotter might have been in
violation of AEC’s emission limits. The AEC did, in fact, cite licensees who actually exceeded
these limits. For example, see the report of its 1961 inspection of another licensee, the US
Radium Corporation.71,72 The AEC never cited Cotter for any impermissible emissions off-site of
Latty Avenue.
In summary, the AEC inspection of Latty Avenue did not find Cotter in violation of AEC limits
on either airborne or liquid effluents, nor did it find Cotter in violation of AEC limits on
radiation in unrestricted areas, and neither have I.
The AEC also wrote an internal memo about the November 17 inspection,73 which said, in part,
        There appears to be only one significant health and safety problem at present
        during this moisture removal and loading operation. This problem relates to the
        inadequate air sampling as performed by the licensee’s consultant . . . The
        condition of the source material being handled does not, however, appear to
        cause a significant hazard to personnel in the area.
The inspection resulted in a letter from the AEC to Cotter dated December 4, 1970, which
attached the finding of noncompliance with 10 CFR 20.201(b) and gave Cotter 20 days to advise
the AEC in writing about Cotter’s position on the item and to include the date that all corrective
action had been, or would be, taken.
As I discussed above, Cotter responded to AEC’s letter on January 7, 197174, saying that it
would implement “a monitoring program which shall comply in all aspects to AEC regulations
10 CFR 20.201(b)”. Cotter also committed to obtain and analyze all necessary samples and
submit them in a report to AEC by January 15, 1971. AEC acknowledged receipt of Cotter's
letter on January 15, 197175 and said that it would review the matter during its next inspection,
which documents that Cotter’s response was acceptable.


This value is less than half of the most restrictive uranium concentration limit from Table 1 in this report,
which is 3.0 X 10-12 microCi/ml, that is
                               1.4 X 10-12 microCi/ml <3.0 X 10-12 microCi/ml
71
   AEC inspection report of November 13-17, 1967 inspection of U.S. Radium Corporation, February 5,
1968. NRC Accession Number ML041380342
72
   This inspection report about the U.S. Radium facility said, in part: “Contrary to 20.106(a)
‘Concentrations in Effluents to Unrestricted Areas’, the release of airborne soluble tritium to unrestricted
areas via stack discharges from the Gas Fill Facility, have exceeded the concentrations set forth in 10
CFR 20, Appendix B, Table II, when averaged over one year.”
73
   AEC memorandum from E. C. Ashley to James M. Allan, November 17, 1970. NRC Accession number
is ML16021A452 (at p. 171).
74
   Letter from David P. Marcott to Boyce H. Grier, January 7, 1971, op. cit.
75
   Letter from Boyce H. Grier to Donald [sic] P. Marcott, January 15, 1971, op. cit.


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RETA Letter February 15, 1973
In 1973, RETA sent a letter to Cotter76 that included a discussion of water samples that had been
taken from Coldwater Creek. It read, in part:
          Water samples were taken from Coldwater Creek both upstream and
          downstream of the site and their radioactivity measured. Initial tests were ran
          [sic] in June, 1968 and several latter samples were collected and analyzed.
          These results remained generally unchanged at 2 X 10-6 uc/ml and,
          consequently, sampling was discontinued in October, 1970.
These findings are significant in at least three respects. First, since RETA found that the results
remained generally unchanged from upstream of the Latty Avenue site to downstream of the site,
RETA found no evidence of releases of radioactive material from Latty Avenue. Second, since
RETA found that the results remained generally unchanged from June 1968 through October
1970, RETA found no evidence that Cotter’s radioactive materials affected Coldwater Creek
between the time that Cotter became a licensee (December 30, 1969) and the time that Cotter
dried and shipped the bulk of its residues to Cañon City. Third, if it is assumed that the measured
radioactivity was due to uranium (from some upstream source), the observed levels of 2 X 10-6
microcuries/ml are less than a tenth of the 10 CFR Part 20 MPCs for uranium in water shown in
Table 1 of this report. Of course, AEC’s concentration limits apply to effluent releases, not to
environmental samples. Nonetheless, the most straightforward interpretation of these
measurements is that either Cotter released no measurable radioactivity from Latty Avenue to
Coldwater Creek while it was a licensee, or that any releases that might have occurred were well
below AEC limits.


AEC Inspection April 1974
AEC conducted another inspection at Latty Avenue on April 10 and April 21-24, 197477. The
inspector recounted what had occurred more than three years earlier; that Cotter dried residue
and shipped it to its facility at Cañon City, Colorado, from August through about November
1970, when problems with the dryer caused a halt in activities. At that time, about 10,000 tons of
Colorado raffinate and 8,700 tons of leached barium sulfate remained on the site. The inspector
was told by Cotter representatives that the site then remained unoccupied until mid-1973 when
the Colorado raffinate was shipped to Cañon City and the leached barium sulfate, mixed with
about 38,000 to 39,000 tons of soil from Latty Avenue, was shipped to a St. Louis County
sanitary landfill. Based on this information, the inspector stated in his report that Cotter was in



76
     Letter from Phillip K. Feeney to David P. Marcott, February 15, 1973, op. cit.
77
     AEC report of April 10 and 24, 1974 inspection, op. cit.


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violation of 10 CFR 20.301, “Waste Disposal, General Requirement,” in that disposal of licensed
material made from July 31, 1973 through October 12, 1973 was in a manner not authorized.78
The inspector also reported that licensee representatives said they surveyed the remaining land
surface at Latty Avenue to determine whether it read less than 0.6 mR/hr at the surface. RETA
said that if it was higher, soil was removed until that value was reached. RETA said that only a
10 foot by 10 foot area was found above 0.6 mR/hr and that the rest of the area averaged less
than 0.1 mR/hr.79
Finally, the inspector documented a management meeting with Mr. Marcott in which they
discussed Cotter’s determination that the uranium content of the leached barium sulfate residues
was reduced to a non-licensable percentage by the addition of quantities of soil80.
As a result of the April 1974 inspection, the AEC had internal discussions81 82about whether to
issue a notice of violation to Cotter for mixing the leached barium sulfate with soil prior to it
being transported to the West Lake Landfill, without prior AEC approval. However, when the
AEC wrote to Cotter on November 1, 197483, the agency did not cite Cotter for a violation.
Rather, the letter said, in part:
       The disposal does not appear to be within the intent of the Commission’s regulation,
       10 CFR Part 40, to allow alteration of the physical nature of the Source material
       (i.e. dilution of solids with non-radioactive source material) in order to obtain a
       physical mixture which would no longer be subjected to licensing by the
       Commission.
In my review of the AEC’s development of this position, I found that it appears to have been
documented for the first time in a letter to another licensee on January 9, 197384. However, I
found no evidence that Cotter had been made aware of this position or that Cotter knew that its
actions might have been inconsistent with the intent of 10 CFR Part 40.

In its formal communication to Cotter on the issue, the AEC did not find Cotter to be in violation
of Section 20.301. The AEC said that Cotter’s disposal appeared to be outside the intent of 10
CFR Part 40, but there is no evidence that Cotter was made aware of the AEC’s interpretation of
the “intent” of the regulatory language prior to its disposal action.


78
   Ibid. COTTER00001679-80
79
   Ibid. COTTER00001681
80
   Ibid. COTTER00001677
81
   AEC Internal memo from James Allan to H. D. Thornburg, May 17, 1974. NRC Accession Number
ML13008A248 (pdf pages 6-7 of 13)
82
   AEC Internal memo from Gen W. Roy to H. D. Thornburg, June 26, 1974. NRC Accession Number
ML13008A248 (pdf pages 1-2 of 13)
83
   Letter from John G. Davis to David P. Marcott, November 1, 1974. COTTER00001673-74
84
   Letter from J. C. Malaro, AEC, to Molybdenum Corporation of America, January 9, 1973. NRC
Accession Number 8605150581


                                                21
                                                                                       COTTERKNAPP00000021
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Moreover, although the AEC considered whether to find Cotter in violation for transferring the
leached barium sulfate to a sanitary landfill, in the November 1 letter, it chose not to do so. In
fact, the AEC did not find Cotter in violation of the regulations, nor did it issue any citation, fine,
or penalty.
Based on these documents and my own experience at the NRC, I conclude that the AEC
deliberately chose not to cite Cotter for a violation for mixing the leached barium sulfate with
topsoil and transferring the mixture to a landfill.
This issue was directly addressed later in a letter about this incident from the NRC’s Assistant
General Counsel, which stated:
        Whether there was a violation of 10 CFR 20.301, as stated in the inspection report,
        depends upon how 10 CFR 40.13(a) is construed. We note that there is nothing in
        that section or elsewhere in 10 CFR Part 40 that expressly prohibits dilution of
        source material in a mixture to below .05 weight percent in order for it to be
        exempted from the regulations in Part 40. If exempt, the requirement for transfer
        to an authorized recipient would not apply.85


Thus, as determined by the NRC’s Assistant General Counsel, there was nothing in the
regulations that prohibited Cotter’s method of disposal of the leached barium sulfate. After
reviewing both of the above inspections, I found no evidence that AEC cited Cotter for violating
either the limits on permissible levels of radiation in unrestricted areas contained in 10 CFR
20.105 or the limits on radioactivity in effluents to unrestricted areas contained in 10 CFR
20.106. Further, I found no evidence that AEC had ever considered doing so.
It is useful to compare Cotter’s performance as a licensee with that of the Nuclear Materials and
Equipment Corporation (NUMEC),86 which operated a nuclear fuel development and
manufacturing facility in Apollo, Pennsylvania from about 1957 through 1978. Both facilities
were licensed to handle uranium, but there were significant differences between them:
•    The uranium at Latty Avenue was present in low concentrations, less than 1% by weight,
     whereas the uranium processed by NUMEC was present in higher concentrations in
     compounds such as UF6 and U3O8. Further, the uranium at Latty Avenue was not enriched
     while the uranium at NUMEC was. That is, the NUMEC material was capable of going
     critical87. Thus, the hazards associated with the material at Latty Avenue were dramatically
     less than the hazards associated with the material at NUMEC.


85
   Letter from Stuart A. Treby, Assistant General Counsel for Rulemaking & Fuel Cycle, Office of the
General Counsel to Richard E. Cunningham, Director, Division of Industrial and Medical Nuclear Safety,
Office of Nuclear Material Safety & Safeguards, February 17, 1988.
86
   Recently, NUMEC, like Cotter, has been involved in litigation concerning compliance with emissions
standards at the time it was in operation.
87
   That is, sustaining a nuclear chain reaction.


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                                                                                          COTTERKNAPP00000022
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•     The only activity occurring at Latty Avenue consisted of drying uranium compounds. By
      contrast, NUMEC engaged in a number of complex activities, in particular, chemically
      processing UF6 (uranium hexafluoride) into metal, metal alloys, oxides and sulfides.
•     Off-gases from the Latty Avenue dryer were processed through a dust collector and wet
      scrubber88 and released through a single stack. By contrast, NUMEC off-gases were
      processed through high-efficiency filters that fed over 100 stacks.
Two AEC inspections of the NUMEC facility89,90 raised concerns about surveys and
concentrations of radioactive material released at the stacks. Specifically, both inspection reports
said that:
         surveys were inadequate to determine compliance with 10 CFR 20.106(b) with
         respect to the airborne concentrations of radioactive materials released to
         unrestricted areas, contrary to 10 CFR 20.201(b), “Surveys.”
In these letters the AEC also said:
         Based on your records of airborne concentrations of radioactive materials
         discharged from your effluent stacks in 1963, it appears that the
         concentrations released to unrestricted areas may have exceeded the limits set
         forth in 10 CFR 20.106(b).91
and
         Based on your records of airborne concentrations of radioactive materials
         discharged from your effluent stacks in 1965, it appears that the
         concentrations released to unrestricted areas may have exceeded the limits set
         forth in 20.106(a).92
These comments show that if the AEC considered a licensee’s (in this case NUMEC’s) surveys
inadequate, and also had concerns about airborne concentrations exceeding Part 20 limits, it
raised them with the licensee. The AEC did not raise concerns about releases to unrestricted
areas at Latty Avenue while Cotter was a licensee.
Although the AEC raised these concerns at the NUMEC facility, the airborne concentration data
documented in both reports showed releases at the roof edge were below Part 20 limits. Such
findings were consistent with AEC regulations because Section 20.106(a) provided that

88
   AEC Inspection Report November 17, 1970, op. cit. COTTER00001691
89
   AEC letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
March 27, 1964.
90
   AEC letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
October 7, 1965.
91
   AEC letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
March 27, 1964, op. cit.
92
   AEC letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
October 7, 1965, op. cit.


                                                 23
                                                                                          COTTERKNAPP00000023
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measurements could be averaged over a year, and Section 20.106(d) provided that for discharges
within the restricted area, the concentrations at the boundary might be determined by applying
appropriate factors for dilution, dispersion, or decay between the point of discharge and the
boundary.
In fact, NUMEC records show multiple discrete instances of exceeding Part 20 concentration
limits at its stacks, but after taking into account sections 20.106(a) and (d) as mentioned above,
the AEC did not find the NUMEC facility’s airborne releases averaged over a period of one year
to unrestricted areas to be in violation of 10 CFR Part 20.
In view of the above AEC experience, it is noteworthy that the agency did not require Cotter to
monitor releases at its dryer stack, nor did the AEC raise any concerns about radionuclide
releases at the boundary of the accessible environment. It is reasonable to infer that the AEC
simply considered that the very low concentrations of uranium in the Latty Avenue residues
made it very unlikely that the stack releases would be a potential source of danger to public
health and safety. And in fact, I have found no documented airborne releases from the Latty
Avenue plant that would suggest otherwise.


License Termination
In 1974, AEC regulations93 stated that “The Commission may terminate a specific license upon
request submitted by the licensee to the Commission in writing.”
Cotter applied for license termination on May 10, 197494. With its application, Cotter provided a
completed version of AEC’s “Certification of Status of Source Material Activities” and a survey
of the Latty Avenue site95. The Latty Avenue survey, completed on April 29, 1974, showed that
all locations fell below the “allowable 0.6 MR/hr96 (approximately 2,000 counts per minute)
level.” The measurements were identified as “Values of Gross Activity in mR/hr. at
approximately three feet above grade.”
The AEC memo dated June 26, 197497, which was discussed above, also addressed Cotter’s
termination request:
        [Licensing] has received a request for license termination from Cotter Corporation
        together with the results of Cotter's beta-gamma radiation surveys of the
        Hazelwood, Missouri site subsequent to decontamination efforts. In this regard,
        RO:III has requested decontamination criteria for “ground” surveys since the
        “Decontamination Guide,” which has previously been furnished [to] Cotter


93
   10 CFR 40.71(d).
94
   Letter from Edward J. McGrath on behalf of Cotter to W. Burkhardt, May 10, 1974, op. cit.
95
   Letter from Phillip K. Feeney to David P. Marcott, May 1, 1974. COTTER00006239
96
   mR/hr is milliroentgens per hour, where roentgen is a measure of radiation dose.
97
   AEC Internal memo from Gen W. Roy to H. D. Thornburg, June 26, 1974, op. cit.


                                                  24
                                                                                           COTTERKNAPP00000024
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              Corporation98 does not specifically discuss ground surveys (only equipment,
              buildings, etc.). However, a precedent has already been established for using the
              “guide” for surveys of ground areas around uranium mills, which Licensing and
              RO have found to be acceptable in the past. Such a survey has consisted of a surface
              alpha survey using the limits in row No. 1 of either table 1 or 2 of the guide and a
              beta-gamma survey using row No. 3 of the guide. We have been informed by L that
              they plan to write back to Cotter requesting an alpha survey in addition to the beta-
              gamma survey already submitted. Of course, in extending the guide to ground
              surveys in this manner only direct radiation measurements have been taken, no
              smears for removable contamination.
I have found no documentation that AEC requested Cotter to perform an alpha survey.
However, the record shows that Cotter did ask RETA to perform such a survey.99 RETA
performed that survey on November 8, 1974100, and reported to Cotter on November 11, 1974
that all areas showed very low activity with the exception of an area about 20 feet in diameter
that exceeded 1,500 counts per minute (cpm) with a maximum level of 2,000 cpm. In order to
compare these results to the AEC’s decommissioning guidelines101 discussed above, it is
necessary to convert RETA’s reported cpm values to disintegrations per minute (dpm)/100
square cm102. At RETA’s reported 12% counting efficiency, 1,500 cpm becomes about 12,500
dpm and 2,000 cpm becomes about 17,000 dpm. Taking into account the area of RETA’s survey
instrument103, these become a little less than 11,000 dpm/100 square cm and 15,000 dpm/100
square cm. Table 3 shows a comparison of the values in row No. 1 of the guidelines with
RETA’s measurements. Because RETA’s values are greater than the limits in Table I of the



98
   This is likely the December 1973 guidance, which was the most recent guidance available. See
Guidelines for Decontamination of Facilities and Equipment Prior to Release for Unrestricted Use or
Termination of Licenses for Byproduct, Source, or Special Nuclear Material, AEC, December 1973.
COTTER00009851-55
99
   Letter from Phillip K. Feeney to David P. Marcott, November 11, 1974. COTTER00001699-1700
100
      Ibid.
101
    Guidelines for Decontamination of Facilities and Equipment Prior to Release for Unrestricted Use or
Termination of Licenses for Byproduct, Source, or Special Nuclear Material, AEC, op. cit.
102
    The difference between counts per minute (cpm) and disintegrations per minute (dpm) is that
disintegrations per minute describes what is actually going on in the radioactive material itself, while
counts per minute describes what the probe, or survey instrument which is just above the surface, is
measuring. This is analogous to the difference between the sounds of a singer’s voice and what a
microphone actually picks up. Depending on how far the microphone is from the singer, and how efficient
the microphone is, it will pick up less than the exact sound of the singer’s voice. Similarly, counts per
minute are always lower than disintegrations per minute because some of the radiation released by the
radioactive material is absorbed by the air and does not reach the probe, and because the probe is not
100% efficient.
103
    The November 11 letter from Feeney to Marcott stated that the meter probe had a surface area of
approximately 18 square inches. The flat side of the probe would have been held very near the surface
being measured and measured the radiation being given off as counts per minute.


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                                                                                             COTTERKNAPP00000025
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guidelines (See Table 2, line number 1 of this report), it is appropriate to compare them to the
Table II limits.
                   Table 3 – Comparison of AEC Decommissioning Guidelines to
                                  November 8, 1974 RETA Survey

                               SURFACE CONTAMINATION LEVELS
                                                 TABLE I                         TABLE II
                                        TOTAL REMOVABLE                 TOTALB         REMOVABLE
 1. AEC alpha limits for U-         10,000A       1,000 A         5,000 A Avg        1,000 A
    natural, U-235, U-238, Th-
    natural, Th-232 and                                          25,000 A Max
    associated decay products
 2. RETA measurements for U-                                     11,000 A Avg
    natural, U-235, U-238, Th-
    natural, Th-232 and                                          15,000 A Max
    associated decay products
A – dpm per 100 cm2
B – The measurement is not to be averaged over an area larger than 10 square meters.

Note B to Table 3 says that the measurement is not to be averaged over an area larger than 10
square meters. RETA reported the elevated readings over an area 20 feet in diameter, which is
about 30 square meters. Although the average radioactivity level in the 20-foot-in-diameter spot
was about twice the limit for average radioactivity in the guidelines, the maximum alpha
concentration observed by RETA was about 60% of the maximum limit in the guidelines, and
nothing in the RETA survey indicated offsite releases of radiation or radioactive materials in
excess of the limits in 10 CFR 20.105 or 10 CFR 20.106.
On November 13, 1974, the AEC terminated Cotter’s license104.


Surveys/NRC Findings After License Termination Through 1977
In 1976, the NRC conducted a special investigation of Cotter’s disposal of the leached barium
sulfate.105 The report of that investigation reads, in part,
          Based on the direct radiation surveys, neither [the West Lake Landfill nor the Latty
          Avenue] site presents an immediate radiological health hazard to the public.
The report also concluded:
          No items of noncompliance were identified during this investigation.

104
      Letter from L. C. Rouse to David P. Marcott, November 13, 1974. COTTER00000899
105
      NRC Region III Special Investigation Report, January 4, 1977. COTTER00006204


                                                  26
                                                                                        COTTERKNAPP00000026
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Further, Attachment A to the report106 reads, in part,

       On May 10, 1974, Cotter reported exposure rates which ranged from 0.01 to 0.4
       mR/hr measured at three feet above grade (type of instrument unknown).
       (Reference 1) These values were the basis for termination of the license by the
       Directorate of Licensing. (Reference 2) The Region III August 11, 1976 survey,
       made at the same distance, yielded readings ranging from 0.3 to 0.8 mrad/hr
       beta/gamma.
       ...
       The presently acceptable limit for release of ground areas, as implied in the
       “Decontamination Guide” (Reference 4) is 0.4 mrad/hr, total, or 0.2 mrad/hr,
       average, with a maximum of 1.0 mrad/hr, all of which are to be measured at 1 cm
       with a probe of not more than 7 mg/cm2 of total adsorber. Thus, the NRC Region
       III survey of August 11, 1976 showed radiation levels at the Latty Avenue site
       exceeding the acceptable release limits, while the survey performed by Cotter
       Corporation showed levels within the guidelines. Both surveys indicate a low,
       nonhazardous radiation level. The difference in results might be attributable to
       differences in instruments and procedures used. (emphasis added.)


In 1977, the Energy and Research Development Administration (ERDA) conducted a survey of
the Latty Avenue site on behalf of the NRC. The NRC wrote Cotter on August 16, 1977107, and
said that the survey indicated a strong probability of the presence of licensable quantities of
source material.
NRC met with Cotter on September 7, 1977. In his report of that meeting108, G. P. Rifakes of
Cotter wrote, in part:
       Further analyses indicates that there are radiation levels at Latty Avenue which
       could indicate the presence of source materials.
One week later the NRC wrote to the current owner of the site, Mr. E. D. Jarboe.109 This letter
said, in part:
       The preliminary [ERDA] report indicates that at present the site poses no immediate
       health and safety problem; however, source material and the attendant radium is
       present in various concentrations over the site. The primary concern is the long term
       (continued occupancy for years) inhalation of radon gas and associated daughter
       products which emanate from the soil. The radon gas is normally diluted by the
       atmosphere in an open area but can build up and become concentrated in a building.

106
    Ibid. COTTER00006214
107
    Letter from Sheldon Meyers to David P. Marcott, August 16, 1977. COTTER00002578
108
    Internal Cotter memo by G. P. Rifakes of a meeting with NRC on September 7, 1977.
COTTER00009210-13
109
    Letter from John B. Martin to E. D. Jarboe, September 16, 1977. COTTER00002502-2504


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                                                                                      COTTERKNAPP00000027
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I conclude from the above three documents that the results of the 1977 ERDA survey indicated
that additional cleanup of Latty Avenue would be necessary. However, the residual radioactivity
remaining at Latty Avenue did not present an immediate health and safety problem, and the
NRC’s primary concern was that radon and its daughter products that could become concentrated
in a building on site. The NRC raised no safety concerns about offsite releases of radioactive
materials.
In summary, both NRC’s 1976 and 1977 surveys showed low levels of radiation that were
characterized as non-hazardous and as presenting no immediate threat to health and safety,
respectively. Neither survey identified any concerns about offsite exposures.
In 1977, DOE began using Latty Avenue for the interim storage of radioactive soils and
materials.110 Since it was no longer clear who might be responsible for radioactivity at the site, I
did not study the site after that year.


                              Comments on Opinions of James Wells

I have reviewed the Expert Report of Dr. James Wells that was signed on March 31, 2019111, Dr.
Wells’ Supplemental Expert Report, dated August 1, 2019112, and portions of the transcript of
Dr. Wells’ deposition that took place on October 17, 2019113. A number of his statements are
demonstrably incorrect, some of which I discuss below.

Regulatory Standard
In his Expert Report, Dr. Wells admits that effluent limitations for water may not have been
exceeded114. However, he provides a footnote to this statement that reads: “Again, this is not to
say either Mallinckrodt or Cotter is not strictly liable, did not breach its duty of care, and did not
release radiation in excess of federal dose limits. . .” Dr. Wells has disregarded the applicable
federal standard and has not identified an alternative objective standard. As discussed
throughout my report, compliance with the 10 CFR Part 20 limits is the standard that has been
established under Federal law and regulation, and accepted by Federal courts, as providing
adequate protection of public health and safety.




110
    Record of Decision for the North St. Louis County Sites, U.S. Army Corps of Engineers, September 2,
2005, pages 2-4.
111
    Expert Report of James T. Wells, PhD, PG, L. Everett & Associates, LLC., In the matter of:
McClurg, et al. v. Mallinckrodt, Inc., et al., March 31, 2019
112
    Supplemental Expert Report of James T. Wells, PhD, PG. L. Everett & Associates, LLC. In the matter
of: McClurg, et al. v. Mallinckrodt, Inc., et al., August 1, 2019
113
    Videotaped Deposition of James T. Wells, Ph.D., Los Angeles California, Thursday, October 17, 2019
114
    James Wells’ Expert Report ‘In the matter of: McClurg, et al. v. Mallinckrodt, Inc., et al.’, March 31,
2019, page 12.


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                                                                                             COTTERKNAPP00000028
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In his Supplemental Report, Dr. Wells says: “It is my opinion that releases of contaminated soil
and sediment into Coldwater Creek and its tributary ditches meet the definition of the release of
“excessive radiation” as defined in 10 CFR §20.”115 Contrary to Dr. Wells’ statement, I have
been unable to find the phrase “excessive radiation” either defined or used in 10 CFR Part 20.
Further, releases of contaminated soil and sediment are releases of radioactive materials, not
releases of radiation. In addition, in his deposition, he makes several references to an AEC policy
that licensees “should” limit exposures to radioactivity to “as low as reasonably achievable”
(ALARA)116. He is incorrect in his understanding of the AEC’s use of the ALARA policy,
which was not used by the AEC as a regulatory limit, but rather as encouragement to licensees to
control and reduce exposures where they reasonably can. By contrast, the release limits set forth
in 10 CFR Part 20 Appendix B for each isotope are formal regulatory limits. Compliance with
these limits is regulated and inspected by the NRC and constitutes the standard for the protection
of public health and safety and the environment.
Finally, in his Expert Report, Dr. Wells states117 that:
        The effluent limitations in 10 CFR §20 have been revised by the NRC a
        number of times over the years; it is my understanding that the Order
        envisions comparing site discharges to the original effluent guidelines
        promulgated in 1960.
The “Order” to which Dr. Wells refers appears to be Case Management Order 14 which refers to
10 CFR 20.106(a), but it does not specify a particular year (although it does specifically refer to
the period from 1970-1974 for Latty Avenue). Because 10 CFR Part 20 is amended from time to
time, the appropriate standards here are the versions of Part 20 for 1969-1974, when Cotter was
the licensee.


Latty Avenue
Dr. Wells’ assertions about Cotter’s responsibilities at Latty Avenue appear to disregard the
factual record. In his Expert Report, he holds Cotter responsible for Latty Avenue before Cotter
became a licensee. He states: “Cotter was responsible for waste at Latty Avenue from mid-1966
through 1973, for a total of 7.5 years118. His stated logic is that although Cotter was not the
licensee, it was responsible because it contracted to have material dried at Latty Avenue shipped
to Colorado, and because in an October 1, 1968 letter to the AEC, a mining engineer employed at
Cotter referred to “our” drying plant in Hazelwood, Missouri.



115
    James Wells’ Supplemental Expert Report ‘In the matter of: McClurg, et al. v. Mallinckrodt, Inc., et
al.’, August 1, 2019, page 10 of unnumbered document, page 191 of Wells Deposition Exhibits.
116
    James Wells’ Deposition, October 17, 2019 pages 51, 113, 141, 267.
117
    James Wells’ Expert Report, op. cit. page 12.
118
    James Wells’ Expert Report. op. cit. pages 21-22.


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                                                                                             COTTERKNAPP00000029
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In addition, several times Dr. Wells has cited regulatory issues that apply to Cotter’s
predecessors. For example, he states: “The facility also received notices of non-compliance from
the Atomic Energy Commission in 1966 and 1967 for contamination in unrestricted areas.”119
And: “In its 1968 inspection report, AEC noted that . . .”120.
Contrary to Dr. Wells’ beliefs, Cotter was not responsible for Latty Avenue’s performance under
AEC regulations until it became the licensee in December 1969. Before that time, as the record
clearly shows, the Latty Avenue site was licensed by other organizations and the AEC held those
organizations, not Cotter, responsible for performance at that site.


Cotter’s Attitude Toward Safety
On page 11 of his Expert Report, Dr. Wells states: “In fact, both Mallinckrodt and Cotter
engaged in a pattern and practice of failing to act with appropriate care, directly leading to
releases of contamination in excess of federal limits.”121
Concerning Cotter122, there is simply no basis for Dr. Wells’ assertion. As documented above in
my report, Cotter repeatedly demonstrated a strong commitment to care and safety. For example,
Cotter contracted with RETA to provide health physics advice and then followed that advice.
Cotter responded promptly and properly to the November 17, 1970 AEC inspection and to the
letter from the St. Louis Health Department.


Cotter’s Compliance with AEC Regulations
Dr. Wells has asserted that Cotter did not comply with AEC regulations for airborne release of
radioactive effluents. In Part b of Table 3 of his Expert Report123, he finds that Cotter exceeded
the AEC limits for thorium-230 for the third and fourth quarters of 1970 and for the first quarter
of 1971, as a result of releases from the operation of the dryer at Latty Avenue.

I have divided my comments on Dr. Wells’ assertion into two sections: the meaning of AEC’s
regulations, and the way in which Dr. Wells estimated offsite releases and compared them to the
limits in Part 20.
AEC Regulations
As I said earlier in this report, a portion of § 20.106 reads:


119
    James Wells’ Supplemental Expert Report, Wells Deposition Exhibits, Exhibit 13, page 7 of
unpaginated document.
120
    James Wells’ Supplemental Expert Report, Wells Deposition Exhibits, Exhibit 13, page 9 of
unpaginated document.
121
    James Wells’ Expert Report. op. cit. page 11.
122
    The scope of my work does not include Mallinckrodt.
123
    Wells’ Expert Report, page 27th page (not numbered),


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                                                                                          COTTERKNAPP00000030
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       § 20.106 Concentrations in effluents to unrestricted areas.
       (a) A licensee shall not possess, use, or transfer licensed material so as to
       release to an unrestricted area radioactive material in concentrations which
       exceed the limits specified in Appendix “B”, Table II of this part, . . . For
       purposes of this section concentrations may be averaged over a period not
       greater than one year.
This text is important for two reasons. First, it is necessary to select the applicable limits in Table
II of 10 CFR Part 20 Appendix B. For the radionuclides of interest here, Table II provides limits
for soluble and insoluble forms of the radionuclide that are generally different. To determine
whether the limits are exceeded, it is necessary to determine whether the radionuclide in question
is soluble or insoluble and then apply the corresponding limit. Second, the regulation permits
licensees to average the concentration over a period of not greater than one year.
Estimates of Offsite Releases and Comparison to Part 20
This section documents the erroneous manner in which Dr. Wells estimated offsite releases and
compared them to the effluent concentration limits in Part 20.
       Choice of Concentration Limits
Most important is Dr. Wells’ decision to use the Part 20 Table II limit for soluble thorium-230
rather than insoluble thorium-230. As shown below, the concentration limit for soluble thorium-
230 is less than the limit for insoluble thorium-230 by the ratio of 3 X 10-13/8 X 10-14 or a factor
of about 3.7.


                    Table 4 – Concentration Limits for Thorium-230 in Air124
   Line                                                         Concentration in microcuries/ml
   1        thorium-230 - Insoluble                             3 X 10-13
   2        thorium-230 - Soluble                               8 X 10-14
   3        Ratio of limit for Insoluble thorium-230 to
            limit for Soluble thorium-230 (Line 1 divided       3 X 10-13/8 X 10-14 =3.75
            by Line 2


The obvious question, then, is whether the thorium-230 at Latty Avenue was soluble or
insoluble. On page 12 of his Expert Report, Dr. Wells states:




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                                                                                          COTTERKNAPP00000031
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       In its 1979 radiological survey of the SLAPS site, DOE used the “soluble” effluent
       limitations as a comparative guide, which I believe are the appropriate standards to
       use for the purpose of this report.
Dr. Wells’ assertion that this 1979 radiological survey of the SLAPS site has anything to do with
Cotter’s activities at Latty Avenue as an AEC licensee is simply incorrect. As seen in the DOE
report, DOE was reporting radionuclide concentrations in water samples from Coldwater Creek
and drainage ditches. Obviously, if thorium dissolved in water is to be compared to Part 20
limits, the appropriate limit is for soluble thorium. However, as its title states, DOE was
reporting on a radiological survey of the St. Louis Airport Site. Latty Avenue is not even
mentioned in the report. Dr. Wells provided no rationale for why the limits cited by DOE for the
water samples from Coldwater Creek and drainage ditches at SLAPS should apply to the
thorium-230 emissions from the dryer at Latty Avenue.
By contrast, the RAC report states125 “According to Duffey’s analysis (1986), the 230Th and 232Th
produced in the MCW [Mallinckrodt Chemical Works] process were insoluble.” Further, the
1976 NRC investigation report, states that “. . . U3O8 combined with barium sulfate is known to
be insoluble in water.”126
Clearly, Dr. Wells should have based his choice of soluble versus insoluble limits on the
available analysis of the actual material at Latty Avenue, not on an inference from a radiological
survey of a different release mechanism (i.e., in water) at another location (i.e., the St. Louis
Airport).
       Estimated Airborne Effluent Concentrations
Dr. Wells basis for estimated airborne effluent concentrations is flawed and unreliable.
First, consider what actually happened to the dryer effluent at Latty Avenue. The effluent from
the dryer stack went up in the air and then moved with the prevailing wind across the site
boundary. As this happened, the dryer effluent was diluted and dispersed by the wind. The
direction and dispersion of this material varied almost minute by minute with the direction and
speed of the wind, resulting in considerable variability in effluent concentration at the site
boundary.
Dr. Wells estimated this effluent concentration with an extremely simple model based on the
total volume of air passing over the site. He calculated the volume of air over the site by
multiplying the area of the site by a modeling height which he chose to be 10 meters. He next
assumed that the effluent leaving the site was uniformly distributed throughout this volume. He
then multiplied this volume by the wind speed to estimate how many volumes of air passed over
the site per quarter of a year. Finally, he divided this quarterly volume into the amount of
effluent released per quarter to arrive at concentrations.




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Clearly, his model is radically different from what actually took place. However, even if the
concept of his model is accepted, it contains a number of errors that, when corrected, show that
the Latty Avenue effluent concentrations were, in fact, well within the Part 20 limits.
First, Dr. Wells’ model failed to reflect the height of the dryer stack. According to the RAC
report127, the dryer stack was 30 feet high. Effluents released from the stack would have traveled
upwards a significant distance from the top of the stack, so Dr. Wells’ modeling height of 10
meters (about 30 feet) is too low. The modeling height, in my opinion, should be at least twice
the stack height. This would at least double the volume of air crossing the site in Dr. Wells’
model. If the volume of air is doubled, the effluent concentrations would be divided in half, so
the estimated effluent concentrations in Table 3b in Dr. Wells’ Expert Report should be divided
by at least a factor of two. I show this calculation in Line 3 of my Table 5 below.
Second, Dr. Wells did not apply the statement in Section 20.106 “For purposes of this section
concentrations may be averaged over a period not greater than one year.” If Dr. Wells had
averaged the concentrations released from Latty Avenue over a year, he would have averaged
them over a total of four quarters128. This would mean averaging the releases for the three
quarters that the Latty Avenue site was in operation (the last two quarters of 1970 and the first
quarter of 1971) plus a fourth quarter. The fourth quarter could be taken either immediately
before or after the three operational quarters. In either case, because no releases were reported
before or after the three operational quarters, the releases for this fourth quarter would be zero. I
show this calculation in Line 4 of my Table 5 below.
Third, when averaging effluent concentrations at the site boundary, it is necessary to consider
both the concentration of the effluent and the direction of the wind transporting it across the
boundary. From a wind rose at the St. Louis Airport,129 it is evident that the wind did not blow in
any particular direction for as much as half the time, so the estimated amount of effluent crossing
any given point on the boundary should be reduced by at least half.
By way of example, I have documented how the above corrections would impact Dr. Wells’
results in the table below. Dr. Wells’ results are taken from Table 3, Part b of his Expert Report.
The quarters shown are for the three quarters that Cotter was operating the dryer.




127
    “Reconstruction of Plaintiff Doses Associated with Residues Stored at the St. Louis Airport Storage
Site and the Hazelwood Interim Storage Site and Critique of Opinions by Dr. Cheremisinoff, Ms. Sears
and Dr. Clark” op. cit., page 4-50
128
    Averaging here means adding the concentration released from the site in four quarters of a year and
then dividing by four to get the average concentration released over a year.
129
    Located at https://wrcc.dri.edu/cgi-bin/wea_windrose.pl?laKSTLhttps://wrcc.dri.edu/cgi-
bin/wea_windrose.pl?laKSTL, select January 1 – December 31, 1970)


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             Table 5 – Corrections to Thorium-230 Emission Concentrations in Wells’ Table
                                and Comparison to Correct Part 20 limits
                                                                      Q3 1970       Q4 1970      Q1 1971
      Line                          Item
                                                                      (pCi/m3)      (pCi/m3)     (pCi/m3)
             Dr. Wells’ estimated thorium-230 concentrations
       1                                                                0.46          0.75         0.41
             from Table 3 b of his report
             Line 1 values multiplied by 120 over 90 to account
       2                                                                0.61            1          0.55
             for 90-day quarters130
             Line 2 concentrations divided by 2 to reflect
       3     doubling the modeling height. (picocuries/cubic            0.31           0.5         0.28
             meter)
             Average concentration over a year based on Line 3
                                                                       (0.31 + 0.5 + 0.28 + 0) = 0.27
             values. Values for Q3 and Q4 of 1970 and Q1 of
       4                                                                          4
             1971 were added and then divided by four
             quarters. (picocuries/cubic meter)
             Line 4 concentration divided by 2 to
             conservatively correct for wind direction over a
                                                                                 0.27 = 0.14
       5     year (picocuries/cubic meter). This is the
                                                                                   2
             concentration that should have resulted from Dr.
             Wells model.
             Part 20 limit for insoluble thorium-230,
       6     3 X 10-12 microcuries/ml expressed as                                    0.3
             picocuries/cubic meter
             Line 5 divided by Line 6 - Ratio of corrected
       7     concentrations to Part 20 limit for insoluble                           47%
             thorium-230, shown as a percentage


As line 7 shows, for the corrected thorium-230 limit and corrected estimated concentration, Dr.
Wells’ model shows that effluent concentration at the Latty Avenue site was significantly less
than the Part 20 airborne effluent limits for thorium while Cotter was a licensee.

                             Assertions Set Forth in Plaintiff Complaints
The following are assertions in the Complaints that I found to be particularly wrong or
misleading:



130
   In calculating the volume of air flowing across the site, Dr. Wells used 120 days per quarter. The
volume of air calculated per quarter should be based on 90 days.



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Plaintiffs’ Assertions:
•   Paragraphs 14 and 20 – Contrary to plaintiffs’ statement in paragraph 14, 10 CFR Part 20
    did not “[limit] levels of radiation and concentrations of radioactive material which could be
    created in unrestricted areas. . .” What Part 20 did was to establish limits for concentrations
    of radioactivity that could be released into unrestricted areas and for exposures to the
    general public. It did not cover radioactivity that was “created” in unrestricted areas or
    released “in” unrestricted areas, it governed releases of radiation above regulatory limits
    “to” unrestricted areas. Plaintiffs’ statement in Paragraph 20 that “[d]uring the entire period
    between 1969 and 1973, no federal regulations governed the permissible or maximum
    amount of radiation to which a member of the general public could be exposed” is incorrect.
    Section 20.105 required licensees to limit doses to persons in unrestricted areas to 0.5 rem
    per year, 2 mrem per hour, and 100 mrem in any seven consecutive days. These limits
    applied to Cotter’s activities throughout the time it was a licensee.
•   Paragraphs 42, 45, 57, 62, 63, 84, 85 - Plaintiffs’ assertions about on-site concentrations of
    radioactivity that showed “elevated levels of residual uranium and thorium,” or on-site
    concentrations in excess of “regional isotope background values” or the presence of
    “contamination” on site do not demonstrate that Cotter violated the off-site emissions limits
    in 10 CFR Part 20.
•   Paragraphs 17, 18, 20, 24, 67, 81 – Despite the assertions of plaintiffs and their experts, I
    have found no evidence that Cotter ever released radiation or radioactive materials off-site
    in excess of the Part 20 regulatory limits, or that any plaintiffs were exposed to radiation in
    excess of allowable regulatory limits.


Summary
Cotter was in compliance with AEC regulations as they applied to offsite releases of radiation
and radioactive material while Cotter was the licensee at Latty Avenue, in particular 10 CFR
20.105 or 10 CFR 20.106.
Contrary to the allegations in the Complaints, during the entire period Cotter was licensed to
possess radioactive materials at Latty Avenue, there were federal regulations promulgated by the
AEC that governed the permissible or maximum amount of radiation to which a member of the
general public could be exposed.
The AEC did not find Cotter in violation of any regulation for its disposal of the leached barium
sulfate to a sanitary landfill -- nor did it issue any citation, fine, or penalty.
The AEC did not find the Latty Avenue facility’s releases to unrestricted areas to be in violation
of 10 CFR 20.105 or 10 CFR 20.106 while Cotter was the licensee. Further, I found no evidence
that suggests offsite releases from Latty Avenue during this period were in violation of these
requirements.
When Dr. James Wells’ analyses of thorium-230 releases from Latty Avenue are corrected, his
model shows that thorium-230 concentrations in effluents from the Latty Avenue site are


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APPENDIX A

Malcolm R. Knapp, Ph.D.
Senior Nuclear Safety Consultant
Summary

Mal Knapp is a Senior Nuclear Safety Consultant to Talisman. His licensing work has included
developing Nuclear Regulatory Commission (NRC) regulations that apply to licensing radioactive
waste disposal facilities and managing materials licensing in NRC’s Region I. As a private
consultant he developed an analysis of the specific activities, professional skills, and resources
necessary to develop and submit a license application to the NRC for a radioactive waste
reprocessing facility. Recently, he developed procedures and guidance for licensing and inspecting
radioactive materials for the Federal Authority for Nuclear Regulation (FANR), the nuclear
regulatory body of the United Arab Emirates.

He has been an independent consultant in nuclear safety and management, with particular
emphasis on nuclear waste management and disposal since his retirement from the NRC in 1999.
His consulting clients have included the NRC, the Los Alamos National Laboratory, the Idaho
National Laboratory, the Oak Ridge National Laboratory, the United Technologies Corporation,
the U.S. Department of Energy (DOE) and the International Atomic Energy Agency, including
working for the latter two agencies as a full-time employee for several months each. He retired
from the NRC as Deputy Executive Director for Regulatory Effectiveness, in which he was
responsible for all research, investigations, enforcement, and emergency response for the agency.
During his 20-year career with the NRC, he was also Deputy Director of the Office of Nuclear
Materials Safety and Safeguards, where he was a founding co-chair of the Federal Government's
Interagency Steering Committee on Radiation Standards (ISCORS), and was Acting Director of
the Office of Research. He was also Director of the Waste Management Division, where his
responsibilities included high- and low-level radioactive waste management, uranium recovery
and decommissioning.

Before becoming Director of that division, he was a principal author of the NRC's generic high
level waste disposal regulation, 10 CFR Part 60. From 1989 through 1992 he was the Director of
the Division of Radiation Safety and Safeguards in the NRC's Region I. There his responsibilities
included licensing and inspection associated with about 4,000 materials licensees, and health
physics, security and emergency planning for 32 commercial reactors. Prior to joining the NRC in
1979, he worked for the General Electric Company, principally at Corporate Research and
Development, where he investigated gas turbine corrosion, heavy water separation and continuous
casting of copper rod. He received a B.E.S. and an M.S.E. from Johns Hopkins University and a
Ph.D. from Carnegie-Mellon University. All his degrees are in Chemical Engineering.

Education

Ph.D. (Chemical Engineering), Carnegie-Mellon University
M.S.E. (Chemical Engineering), Johns Hopkins University
B.E.S. (Chemical Engineering), Johns Hopkins University



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Qualifications

Radiological Safety - Directly managed the NRC’s regulation of radiological safety at all power
and research reactors and materials licensees in Region I. Founding co-chair of the Federal
Government’s Interagency Steering Committee On Radiation Standards (ISCORS). Directly
managed staff’s approach to potassium iodide issues. Trained in various health physics classes,
including the five-week DOE class at Oak Ridge. Principal author of FANR radiation protection
program and FANR regulatory guide on radiation safety.

Waste Management - Twelve years experience as individual contributor, supervisor and manager
in waste management. Former Director of the NRC’s Waste Management Division, former
Director of the NRC’s Low-Level Waste and Decommissioning Division. Activities have included
managing and participating in:

•   NRC’s regulatory program for spent fuel and high-level waste, including regulation
    development and interactions with US DOE; was a principal author of NRC’s original high-
    level waste disposal regulation, 10 CFR Part 60.
•   NRC’s activities responding to the Low-Level Radioactive Waste policy Amendments Act of
    1985; managed NRC’s activities concerning low-level waste storage and disposal.
•   NRC’s activities associated with materials facility and reactor site decontamination and
    decommissioning, including B&W facility in Apollo, PA, Safety Light, Centichem and West
    Valley.
•   NRC’s regulation and oversight of uranium mill tailings and solution mines including DOE
    Title I sites and commercial sites.

As Deputy Director of Office of Nuclear Material Safety and Safeguards, was responsible for the
NRC’s involvement in DOE’s Tank Waste Remediation System (TWRS) at Hanford, Washington.

Material Safety - Directly managed licensing, inspection, enforcement, and incident response for
about 4,000 material licensees in the NRC’s Region I, including hospitals, clinics, physicians,
pharmaceutical manufacturers, large scale irradiators, radiographers and gage users. Often
accompanied staff inspections of reactors and materials facilities. Conducted numerous
enforcement conferences. Personally managed responses to materials incidents.

Emergency Preparedness and Incident Response - Responsible for emergency preparedness
and incident response in the NRC’s Region I. As Deputy Executive Director, responsible for
NRC’s Incident Response Center. Participated in numerous exercises. Personally initiated
unannounced, off-hours exercise.    Directed the NRC Response Center during Tokaimura
criticality.

Security - Managed the NRC’s security regulation of power reactors and fuel cycle facilities in
Region I. Regulated activities included physical protection, access control, threat assessment and
fitness for duty. Directed initial implementation of fitness for duty regulations.

Management - Twenty years managing NRC organizations of five to 400 staff and technical
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contract support of up to $40 million annually. Extensive experience in technical management,
policy development, planning, budgeting, and project, contract and personnel management.

Research - As Acting Director of the NRC’s Office of Nuclear Regulatory Research during 1997-
1998, managed agency’s research programs including those applicable to spent fuel storage, waste
management, decommissioning, geosciences, reactor vessel and component aging, and health
physics.

Planning - Principal contributor to the 1995-1996 NRC-wide planning efforts, including Strategic
Assessment and Re-Baselining, and the Planning, Budgeting and Performance Management
(PBPM) process. Documented ongoing activities, assessed external factors, recommended
strategies, and developed prioritization methods.

Employment

Talisman International, LLC
• Federal Authority for Nuclear Regulation, United Arab Emirates
• Mitsubishi Nuclear Energy Services
• CACI
• Department of Justice
• Envirocare
• Idaho National Engineering Laboratory

Private Consultant, 2000-Present Clients include:
• United Technologies Corporation (UTC)
• Advisory Committee on Nuclear Waste, US Nuclear Regulatory Commission
• International Atomic Energy Agency
• Office of Civilian Radioactive Waste Management, US Department of Energy
• Los Alamos National Laboratory
• Informatics Corporation

Department of Energy, 2003
• Senior Technical Advisor for Licensing, Office of Civilian Radioactive Waste Management
   (six months)

International Atomic Energy Agency, 2002
• Leader, Radioactive Waste Disposal Unit (four months)
• Secretary, Network of Centers of Excellence; Training in and Demonstration of Waste
   Disposal Technologies in Underground Research Laboratories

Parallax, Inc, 2000-2003
• Assistant to the President
• Facilitator, DOE-sponsored Water Quality Project, at K-25 site, Oak Ridge TN

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Malcolm R. Knapp, Ph.D.

U.S. Nuclear Regulatory Commission, 1979-1999
• Deputy Executive Director for Regulatory Effectiveness
• Acting Director of NRC Office of Nuclear Regulatory Research
• Deputy Director of NRC Office of Nuclear Material Safety and Safeguards
• Director of Waste Management Division, Office of Nuclear Material Safety and Safeguards
• Director of Division of Radiation Safety and Safeguards, NRC Region I

General Electric Corporation, 1972-1979
• Staff Scientist, Corporate Research and Development
• Senior Research Engineer, Wire and Cable Division

Allied Chemical Corporation (now Honeywell), 1966-1967
• Process Engineer, Baltimore Chrome Plant

Honors and Awards

•   Senior Executive Service Bonus Award, 1987-90, 1992-99;
•   Certificate of Appreciation from NRC Chairman Shirley A. Jackson, for Strategic
    Assessment, 1996;
•   Presidential Rank Meritorious Executive Awards 1990 and 1996;
•   NRC Meritorious Service Award, 1987;
•   NRC $1,000 Special Achievement Award, 1984;
•   General Electric Patent Award, 1975;
•   Otto Stern Award, Carnegie-Mellon University Chapter, Sigma Xi, 1972;
•   Past member, Sigma Xi and Phi Kappa Phi Honorary societies.

Patent

“Oxygen Control in Continuous Metal Casting Systems,” #3,987,224


Publications

“International Graded Approach to Waste Management,” with John T. Greeves and Thomas La
            th
Guardia, 10 International Conference on Environmental Remediation and Radioactive Waste
Management, proceedings, Glasgow, Scotland, September 4-8, 2005.

“Training in Waste Disposal Technologies in Underground Research Laboratories,” with
Michael J. Bell and Arnold Bonne, Proceedings of the 10th International High Level Radioactive
Waste Management Conference, 30 March – 3 April 2003.




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Malcolm R. Knapp, Ph.D.

“Objectives and Current Status Of the IAEA Network of Centers of Excellence: Training in and
Demonstration of Waste Disposal Technologies in Underground Research Laboratories,” with
Michael J. Bell, Proceedings of WM ’03, February 2003.

“Regulating the Long-Term Safety of Radioactive Waste Disposal in the United States,” with
Michael Lee, Invited Paper, Regulating the Long-Term Safety of Radioactive Waste Disposal,
Joint CNRA/RWMC/CRPPH Workshop, Cordoba, Spain, January 20-23, 1996.

“The Environmental and Ethical Basis of Geological Disposal.” Cited Contributor, Collective
Opinion of the Nuclear Energy Agency Radioactive Waste Management Committee,
Organization for Economic Cooperation and Development, 1995.

“NRC Perspective on Low-Level Radioactive Waste Disposal,” with H.L. Thompson, Jr.,
Proceedings of WM ’87, March 1987.

“Regulatory Issues in Performance Assessment for High-Level Waste,” with J.C. Belote and
P.M. Ornstein, Proceedings of the 1983 Civilian Radioactive Waste Management Information
Meeting December 12-15, 1983 (Invited Paper).

“Rationale for the Performance Objectives in 10 CFR Part 60,” editor, Disposal of High-Level
Radioactive Waste in Geologic Repositories, Enclosure G, NUREG-0804.

“Regulating the Development of a Waste Repository,” with D.J. Fehringer, Underground Space,
January/April 1982, p.217 (Invited Paper).

“Current NRC Perspective on the Regulation of an HLW Geologic Repository,” with M.J. Bell
and J.B. Martin, Proceedings of the 1981 National Waste Terminal Storage Program Information
Meeting, U.S. Department of Energy, National Waste Storage Program, November, 1981,
DOE/NWRS-15 (Invited Paper).

“Uncertainties in the Regulation and Licensing of a High-Level Waste Repository,” with M.J.
Bell and J.B. Martin, Proceedings of the Symposium of High-Level Radioactive Waste, Oak
Ridge National Laboratory, March 9-13, 1981, NUREG/CR-0022 (Invited Paper).

“A Controllable Gas Stream Powder Feeder,” with R.H. Arendt, R.A. Giddings, and C.W.
Krystyniak, Powder Technology, 14, 1976, p.185.

“Gas Turbine Deposit Analysis and Models for Deposit Formation and Modification,” with R.H.
Arendt and C.W. Krystyniak, Proceedings of Metal-Slag-Gas Reactions and Processes
Symposium, Electrochemical Society, May 1975.

“Kinetics of Reactions Between Magnetite and Carbon Monoxide Between 723 and 823°K,”
with K. Li and W.O. Philbrook, MET Trans B, 6B, 1975, p.513.


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Malcolm R. Knapp, Ph.D.

“Carbon Deposition During Iron-Oxide Reduction,” Carnegie Technical, Carnegie-Mellon
University, Pittsburgh, Spring, 1973.

“Experimental Techniques for the Study of Carbon Deposition During the Reduction of
Magnetite by Carbon Monoxide,” with K. Li and W.O. Philbrook, New Methods of Investigation
of Processes of Reduction of and Non-Ferrous Metals Part II, (in Russian), p.41, Science
Publishers, Moscow, USSR (1973) (Invited Paper).

“A Simple Continuously Weighed Rotating Disk Reactor,” with K. Li and W.O. Philbrook, Rev.
Sci. Ins. 1972, p.345.

Congressional Testimony

Testified before the Subcommittee on Oversight and Investigations, House Commerce Committee,
United States House of Representatives, concerning “The Paducah Gaseous Diffusion Plant: An
Assessment of Worker Safety and Environmental Contamination,” September 22, 1999.

Litigation Testimony

Deposed as an expert witness in McMunn v. Babcock & Wilcox, Civil Action No. 10-143, in the
United States Court for the Western District of Pennsylvania, expert for the Defendants, deposed
on May 9, 2013.

Deposed as an expert witness in Virginia Uranium v. Commonwealth of Virginia, Case No.
CL15-623 in the Circuit Court of Wise County, Commonwealth of Virginia, expert for the
Plaintiffs, deposed on July 7, 2017.

Presentations

Over 75 public and proprietary technical, program and policy presentations. Groups addressed
include: National Academy of Sciences; American Institute of Chemical Engineers; American
Metallurgical Society; National Council of State Legislators; Advisory Committee on Nuclear
Waste; Advisory Committee on Reactor Safeguards; NRC All-Agreement States Meeting;
National Low-Level Waste Management Forum; CAL-RAD Forum; North Carolina Low-Level
Radioactive Legislators and Staff; and Vermont Legislative Hearing.




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                                                                   Attachment B


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10 CFR Part 20, Standards for Protection Against Radiation, 1957
10 CFR Part 20, Standards for Protection Against Radiation, 1968
10 CFR Part 20, Standards for Protection Against Radiation, 1970
10 CFR Part 20, Standards for Protection Against Radiation, 1981
10 CFR Part 20, Standards for Protection Against Radiation, Final Rule, 56 FR 23360, May 21,
1991
10 CFR Part 20, Standards for Protection Against Radiation, Miscellaneous Amendments, 25 FR
8595, September 7, 1960
10 CFR Part 40, Domestic licensing of Source Material
AEC “Request for Proposals for the Purchase and Removal of Uranium Contaminated Residues”
to David P. Marcott, June 10, 1960. COTTER00002568-69
AEC Inspection Report November 17, 1970, COTTER00001688
AEC Inspection Report of April 10 and 24, 1974 inspection. COTTER00001675-82
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February 5, 1968. NRC Accession Number ML041380342
AEC internal memo from E. C. Ashley to James M. Allan, November 17, 1970. NRC Accession
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AEC internal memo from Gen W. Roy to H. D. Thornburg, June 26, 1974. NRC Accession
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AEC internal memo from W. T. Crow to L. C. Rouse, November 13, 1974, COTTER00000897
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Bi-Monthly Monitoring Report for Cotter Corporation, September 30, 1970. COTTER00001473
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Use or Termination of Licenses for Byproduct, Source, or Special Nuclear Material, AEC,
December 1973. COTTER00009851-55
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COTTER00009210-13
Introduction to Health Physics, Herman Cember, 1996
James T. Wells' Expert Report March 31, 2019
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Letter from Cotter to AEC, November 18, 1969, NRC Accession Number 9609050157 (In
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Letter from David P. Marcott to AEC, December 16, 1969, COTTER00000805
Letter from David P. Marcott to Boyce H. Grier, January 7, 1971, COTTER00001453
Letter from David P. Marcott to Frank Pittman, December 6, 1972, COTTER00000842
Letter from Don F. Harmon, AEC, to David P. Marcott, December 30, 1969,
COTTER00000815-16
Letter from Donald A. Nussbaumer, AEC, to Clemons M. Roark, Contemporary Metals
Corporation, June 22, 1962, COTTER00009523-24
Letter from Donald A. Nussbaumer, AEC, to Clemons M. Roark, Contemporary Metals
Corporation, May 25, 1962, COTTER00009512-13
Letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
March 27, 1964
Letter from Eber Price, AEC to Zalman Shapiro, Nuclear Materials and Equipment Corporation,
October 7, 1965
Letter from Edward J. McGrath on behalf of Cotter to W. Burkhardt, May 10, 1974,
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Letter from Edward J. McGrath to Robert Hollingsworth, April 28, 1971, COTTER00001796
Letter from J. C. Malaro, AEC, to Molybdenum Corporation of America, January 9, 1973, NRC
Accession Number 8605150581


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